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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-1(b)
McMANIMON, SCOTLAND & BAUMANN, LLC                                  Order Filed on December 16, 2024
                                                                    by Clerk
75 Livingston Avenue                                                U.S. Bankruptcy Court
Roseland, NJ 07068                                                  District of New Jersey
(973) 622-1800
Anthony Sodono, III (asodono@msbnj.com)
Sari B. Placona (splacona@msbnj.com)
Counsel to 703 Bakery Corp., Subchapter V Chapter
11 Debtor and Debtor-in-Possession

                                                          Chapter 11; Subchapter V
In re:
                                                          Case No. 24-15150 (VFP)
703 Bakery Corp.,
                                                          Honorable Vincent J. Papalia
                         Debtor.
                                                          Hearing Date: December 12, 2024

                  ORDER CONFIRMING DEBTOR’S COMBINED FIRST
                     AMENDED PLAN OF REORGANIZATION AND
               DISCLOSURE STATEMENT PURSUANT TO 11 U.S.C. § 1191(b)

          The relief set forth on the following pages, numbered two (2) through twenty-three (23), is

  hereby ORDERED.




  DATED: December 16, 2024
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        703 Bakery Corp., Subchapter V Chapter 11 debtor and debtor-in-possession (the

 “Debtor”), by and through its attorneys, McManimon, Scotland & Bauman, LLC, hereby submits

 this Order Confirming Debtor’s Combined First Amended Plan of Reorganization and Disclosure

 Statement Pursuant to 11 U.S.C. § 1191(b), based upon the filing of Debtor’s First Amended Plan

 of Reorganization and Disclosure Statement [ECF 178] (the “Plan”) under chapter 11 of Title 11,

 United States Code (the “Bankruptcy Code”); and it appearing that due notice of the hearing to

 consider confirmation of the Plan (the “Confirmation Hearing”) having been given; and the

 solicitation of acceptances or rejections of the Plan having been made in the manner required by

 this Court and by law; and a Confirmation Hearing having been held before the Court on December

 12, 2024, and upon the entire record of this case, the argument of counsel for the Debtor, and the

 evidence proffered at the Confirmation Hearing, including the Certification of Oleg Azizov in

 support of confirmation of the Plan [ECF 209]; and the Certification of Sari B. Placona, Esq. on

 the tabulation of the ballots cast in favor of and against the Plan (the “Certification of Ballots”)

 [ECF 210]; and the Court having considered the objections to the Plan (“Objections”), if any; and

 the Court having considered the supporting papers filed by the Debtor, and, unless otherwise

 stated, all capitalized terms used herein having the meaning set forth in the Plan; and after due

 deliberation and good and sufficient cause appearing thereof;

        IT IS HEREBY FOUND THAT:

        A.      The Plan attached as Exhibit A and as modified herein complies with all applicable

 provisions of the Bankruptcy Code.

        B.      The Plan has been proposed in good faith and not by any means forbidden by law.




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         C.      The Debtor has disclosed to the Court any payments made or promised for services

 or for costs and expenses in connection with this case or the Plan, and such payments have been

 approved by, or are subject to the approval of, the Court as reasonable.

         D.      No government regulatory commission has jurisdiction over any rates charged by

 the Debtor.

         E.      All Allowed Administrative claims and Non-Tax Priority claims will be paid in full

 within the first two (2) years after entry of the order confirming the Plan as set forth in the Plan

 or in this order confirming the Plan. With regard to the aforementioned which will be paid after

 the Effective Date, it is with the consent of all affected parties.

         F.      All Classes through and including 1-13 are impaired under the Plan. As reflected

 in the filed Certification of Ballots Classes 4 and 7 voted to accept the Plan. Since this is a

 Subchapter V, Title 11 case, and because all classes have not voted to accept the Plan, the Plan

 was not consensual, the Debtor acknowledges it will not receive its discharge until the Plan

 payments are complete. At the Confirmation Hearing, all objections were resolved on the record.

         G.      The Plan is feasible. The Debtor will be and has sufficiently demonstrated its ability

 to meet its financial obligations under the Plan. Moreover, any shortfall in the Debtor’s ability to

 pay its operating expenses will be back-stopped by the infusion of debtor-in-possession exit

 financing up to $500,000. Confirmation and consummation of the Plan is not likely to be

 followed by the need for further financial reorganization of the Debtor.

         H.      The Debtor has no retiree benefits as that term is defined in section 1114 of the

 Bankruptcy Code.




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         I.     Bankruptcy Code sections 1129(a)(14) and 1129(a)(15) are not applicable to this

 case.

         J.     If applicable, all transfers of property under the Plan will be made in accordance

 with any applicable provisions of non-bankruptcy law that govern the transfer of property by a

 corporation or trust that is not a moneyed, business, or commercial corporation or trust.

         K.     The Plan meets all the applicable requirements of sections 1129(a), and 1129(b) of

 the Bankruptcy Code.

         L.     The classification of claims and interests under the Plan is consistent with section

 1122 of the Bankruptcy Code.

         M.     The Plan specifies the classes of claims and interests impaired under the Plan and

 specifies the treatment of claims or interests in such classes.

         N.     The Plan provides the same treatment for each claim or interest of a particular class.

         O.     The Plan provides adequate means for its execution and implementation.

         P.     The procedures by which the Ballots were distributed and tabulated were fair,

 properly conducted, and complied with the prior Orders of this Court.

         Q.     The service of notice of the Confirmation Hearing and the solicitation of

 acceptances and rejections of the Plan were appropriate and satisfactory and were in compliance

 with the provisions of the Bankruptcy Code and the Federal Rules of Bankruptcy Procedure.

         Based upon the above findings of fact; and good and sufficient cause appearing therefor,




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          IT IS ORDERED, ADJUDGED AND DECREED THAT:

          1.          The Plan1 [ECF 178] annexed as Exhibit A, and as amended and modified herein,

 be and hereby is confirmed in accordance with, among other sections, the applicable provisions of

 sections 1129(a), 1129(b) and 1191(b) of the Bankruptcy Code; provided, however, if there is any

 direct conflict between the terms of the Plan and the terms of this Confirmation Order, the terms

 of this Confirmation Order shall control. The terms of the Plan are an integral part of this

 Confirmation Order and hereby are incorporated herein by reference and “So Ordered” in their

 entirety.

          2.          If any objections to the Plan were not withdrawn, all objections, whether raised

 formally or informally, and specifically including the Objections, are overruled.

          3.          If the Debtor fails to make any payment or to perform any other obligation

 required under the confirmed Plan,2 and such failure continues for a period of thirty (30) days after

 the due date of such payment or performance, the following shall apply:

                   a. Notice of Default: The Creditor(s) shall provide written notice of the default to

                        the Debtor and the Debtor's attorney(s). The notice shall be by regular mail

                        and email, shall specify the nature of the default and provide the Debtor with

                        an additional fifteen (15) days to cure the default.




 1 All capitalized terms not defined herein shall have the same meaning as prescribed in the Plan.
 2
  This default provision applies to all Creditors under the Debtor’s Plan. If a specific default provision for a particular
 Creditor(s) is outlined in this Confirmation Order, it will supersede this general default provision.



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               b. Opportunity to Cure: If the Debtor fails to cure the default within the fifteen

                   (15) day period, the Creditor(s) may file a Certification of Default with the

                   Court seeking appropriate relief.

               c. Hearing on Default: Upon the filing of such a motion, the Court shall schedule

                   a hearing to determine whether the Debtor has defaulted under the terms of the

                   Plan and whether the Creditor is entitled to the requested relief.

               d. Remedies: If the Court finds that the Debtor has defaulted and failed to cure the

                   default, the Court may grant the Creditor(s) relief, allowing the Creditor to

                   pursue its state law remedies, including foreclosure, eviction or repossession,

                   or any other relief deemed appropriate by the Court.

               e. Continued Obligations: The Debtor's obligations under the Plan shall continue

                   in full force and effect, and the Debtor shall remain liable for any deficiency or

                   other amounts due under the Plan.

        4.     750 8th Avenue LLC (“8th Avenue”) is hereby deemed to have an Administrative

 Expense related to repair and cleanup costs from the Debtor’s occupancy and move-out from the

 premises located at 750 Eighth Avenue, New York, New York 10036 (“Time Square Location”).

 8th Avenue’s administrative claim for repair/costs is fixed at $2,720.00. Furthermore, the

 $2,720.00 claim shall be added to 8th Avenue’s administrative rent claim of $123,281.83.

 Therefore, 8th Avenue’s total Administrative Expense under the Plan is $126,001.83.

        5.      8th Avenue’s Administrative Expense shall be treated similarly as all

 other Administrative Expense claims in the Plan. The projections filed by the Debtor anticipates

 paying all Administrative Expenses over two years.


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         6.       E.O.M. Realty NY Corp. (the “E.O.M.”) entered into a sublease with the Debtor on

 March 10, 2022 (the “Lease”) covering a portion of the ground floor at the building located at 676

 Amsterdam Avenue, New York, NY (the “Premises”). E.O.M. and the Debtor negotiated a global

 settlement, filed with the Court on December 4, 2024, of all outstanding claims, counterclaims,

 defenses and set-offs, as memorialized in the Stipulation and Consent Order Re: Disposition of

 Sublease for Premises and Settlement of Arrears (“E.O.M. Settlement Order”).3 ECF 199. The

 terms of the E.O.M. Settlement Order implemented into the Plan are as follows:

                  (i)      Notwithstanding any timeline issues under 11 U.S.C. §365(d)(4), E.O.M.

                           consented to the assumption of the Lease upon entry of the E.O.M.

                           Settlement Order.

                  (ii)     The Debtor acknowledges that E.O.M.’s obligation to reimburse the Debtor

                           for all of the costs of improvements at the Premises is fixed at $120,000,

                           which has previously been paid in full before September 30, 2024, except

                           for the cost of installing a movable wall at the Premises at a cost of $21,985.

                           This cost of $21,985 shall be split between the Debtor and E.O.M. on a

                           50%-50% basis such that E.O.M. owes the Debtor a credit of $10,992.50

                           (the “Credit”).

                  (iii)    The outstanding Lease arrears owed by the Debtor to E.O.M. as of the date

                           hereof aggregates the sum of $32,811.00 net of the Credit and all prior

                           payments made by the Debtor (the “Net Arrears”). The Net Arrears shall be


 3
  Insofar as the Debtor’s confirmation order relates to E.O.M. and the Premises, E.O.M Settlement Order shall have
 control over the Debtor’s confirmation order.



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                       paid by the Debtor to E.O.M. over a period of twelve (12) months,

                       beginning on December 1, 2024 and continuing through November 30,

                       2025, in equal monthly installments of $2,734.34 per month, which monthly

                       payments are due on the first day of each month starting on December 1,

                       2024.

               (iv)    As of November 1, 2024, monthly base rent under the Lease shall be

                       calculated based upon twenty (20%) percent of gross sales for the preceding

                       month, with monthly rent payments due on the first day of each month. The

                       November rent payment shall be due on December 2, 2024, after November

                       gross sales are fully calculated, based on 20% thereof.

               (v)     All of the Debtor’s payment obligations hereunder, together with the

                       Debtor’s payment obligations under the assumed Lease, shall be secured by

                       a state court judgment of possession and warrant of eviction to be executed

                       upon entry of the E.O.M. Settlement Order (the “Eviction Documents”).

                       The Eviction Documents shall be held in escrow by E.O.M.’s attorneys and

                       may be released from escrow and filed by E.O.M. in the Civil Court, New

                       York County if a default by the Debtor under this Consent Order or the

                       Lease after issuance to the Debtor by email of a written notice of default

                       which is not cured within fifteen (15) days thereafter.

        7.       CIT Bank, A Division of First Citizens Bank or its successors or assignees

 (“CIT”), filed a motion under Bankruptcy Code §362(a) for relief from the automatic stay as to

 certain property set forth below. On December 4, 2024, CIT Bank and the Debtor filed a Consent


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 Order Resolving Motion for Relief from the Automatic Stay (“CIT Settlement Order”). ECF 198.

 The CIT Settlement Order terms and conditions are hereby incorporated into the Plan as set forth

 below:

                  (i)     Prior to the Debtor filing the instant Chapter 11 proceeding, CIT and the

                          Debtor entered into three (3) Contracts4 financing the Debtor’s purchase of

                          commercial kitchen equipment, with said Contracts further obligating the

                          Debtor to make regular monthly and/or quarterly payments to repay the

                          borrowed sums and further granting Movant a security interest in the

                          Equipment;

                  (ii)    CIT perfected its security interests in the Equipment by filling a UCC

                          Financing Statement as to each Contract and related Equipment prior to the

                          Debtor’s filing of this Chapter 11 case;

                  (iii)   Debtor defaulted on all three Contracts and owed CIT pre and post-petition

                          arrears; the Debtor shall retain possession of the Equipment described in

                          Exhibit A of the CIT Settlement Order and the Automatic Stay shall remain

                          in full force and effect, subject to the following repayment conditions:

                                   a.   Cure of pre and post-petition arrears: As of the date of entry

                                        into the CIT Settlement Order,5 the Debtor is:




 4 See Exhibit A of the CIT Settlement Order. ECF 198.
 5 CIT Settlement Order was executed by CIT’s attorney, Cameron Deane, Esq., on November 13, 2024 and Debtor’s

 attorney, Sari B. Placona, Esq., on November 22, 2024. ECF 198.



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                            b.    currently past due on each contract in the aggregate sum of

                                  $82,459.19, as further described below:

                                   i.   Contract ending in 8000 (Motion at Docket 93) - Pre and

                                        post-petition arrears due in the amount of $28,394.40;

                                  ii.   Contract ending in 3000 (Motion at Docket 94) - Pre and

                                        post-petition arrears due in the amount of $33,058.17;

                                 iii.   Contract ending in 2000 (Motion at Docket 95) - Pre and

                                        post-petition arrears due in the amount of $21,006.62;

                            c.    Debtor shall cure the arrears stated in paragraph 1 of the CIT

                                  Settlement Order via monthly installments of $2,000 per month

                                  payable to CIT beginning December 1, 2024 and continuing on

                                  the 1st day of each month thereafter until the arrears stated in

                                  paragraph a are satisfied.

                            d.    The payments described in paragraph 2 of the CIT Settlement

                                  Order shall be applied on a pro rata basis towards the arrears

                                  owed on each Contract.

                            e.    The Debtor shall resume contractual payments on each contract

                                  by submitting payments directly to CIT, beginning with the

                                  next contractual payment due.

              (iv)   Events of Default:

                            a.     If the Debtor fails to remit payment as stated above or fails to

                                   make any regular monthly payment within thirty (30) days of


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                                            the date the payments are due, then CIT may obtain an Order

                                            Vacating the Automatic Stay.6 as to the Collateral by filing,

                                            with the Bankruptcy Court, a Certification specifying the

                                            Debtor’s failure to comply with the CIT Settlement Order. At

                                            the time the Certification is filed with the court, a copy of the

                                            Certification shall be sent to the Chapter 11 SubV

                                            Trustee, the Debtor, and the Debtor’s counsel.

                   (v)      If the Debtor converts its case to a Chapter 7, Debtor shall cure all pre-

                            petition and post-petition arrears within ten (10) days from the date of

                            conversion. Failure to cure the arrears shall constitute a default under the

                            CIT Settlement Order, and CIT may certify default as set forth in paragraph

                            3 of the CIT Settlement Order.

                   (vi)     Nothing contained in the CIT Settlement Order shall in any way prejudice,

                            impair, or otherwise affect the interests of any other party in and to the

                            Equipment, if any such interests exist.

          8.         CFP New York LP’s (“CFP”) secured claim shall be allowed as a fully secured

 claim in the amount of $116,053.23; with CFP to retain its liens; provided, however that the

 amount of CFP’s secured claim will be reduced, and the monthly plan payment revised

 accordingly pursuant to the proposed treatment set forth in the Debtor’s Plan, following the

 application by CFP of any net sale proceeds received by CFP from any sale or other disposition


 6
  The automatic stay is vacated upon confirmation of a plan. If a default occurs and such default is not cured, and the
 creditor files a certification of default, the creditor may take any action it deems appropriate.



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 of any equipment or other collateral returned by the Debtor to CFP following confirmation of the

 Plan.

         9.          Frank Gargiulo and Son Inc. d/b/a Gargiulo Produce (“Gargiulo”),7 is hereby

 deemed to have a secured claim in the amount of $114,817.00. Upon approval of the Plan, the

 Debtor will tender sixty (60) equal monthly payments in the amount of $1,913.61 to Gargiulo.

 The first payment will be due on March 1, 2025, and each subsequent payment will be due on

 the 1st day of each month thereafter until all sixty (60) payments are made.

         10.         Normaze Associates, Inc. (“Normaze”) filed an Objection to Confirmation of

 Chapter 11 Plan of Reorganization (“Normaze Objection”). Normaze and the Debtor resolved all

 issues related to the Normaze Objection. On December 11, 2024, Normaze and the Debtor filed

 a consent order resolving the Normaze Objection (“Normaze Settlement Order”). A Certification

 Concerning the Normaze Settlement Order was filed. ECF 211. The Normaze Settlement Order

 terms and conditions are hereby incorporated into the Plan as set forth below:

                  (i)      The Debtor is the sole tenant at 323 Ridge Road, Lyndhurst, New Jersey

                           (“Lyndhurst Location”) where Normaze is the landlord under a lease dated

                           August 16, 2017 (“Normaze Lease”). Currently the Debtor’s monthly rent

                           due to Normaze pursuant to the terms of the Normaze Lease is

                           $8,508.54/month.

                  (ii)     The Lyndhurst Location is essential to the Debtor’s business.

                  (iii)    Debtor wishes to assume all obligations under the Normaze Lease.



 7 Gargiulo filed Proof of Claim 6 on June 5, 2024.




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              (iv)    As of the Petition Date, Debtor owed Normaze $55,430.28.

              (v)     Post-petition, Debtor was in arrears for obligations under the Normaze

                      Lease which were previously resolved by a consent order entered on

                      September 17, 2024 (“Normaze Consent Order”), the terms of which are

                      incorporated into the Normaze Settlement Order and hereto into this

                      confirmation order.

              (vi)    At the time of the Normaze Consent Order, the Debtor was in arrears post-

                      petition in the amount of $32,011.02 for rent and utilities through

                      September 1, 2024. Subsequently, the Debtor failed to pay a utility charge

                      (water) in the amount of $6,959.09 for a total of $38,970.11.

              (vii)   From October 2024 through December 1, 2024, rent was due in the

                      amount of $25,525.62 for a total post-petition obligation through

                      December 1, 2024 of $64,495.73.

              (viii) Through December 1, 2024, the Debtor paid to Normaze the sum of

                      $48,000.00 leaving post-petition balance due of $16,495.73.

              (ix)    Pursuant to the Normaze Consent Order, Debtor is to pay the sum of

                      $12,000.00/month on account of rent accruing at $8,508.54 with the

                      monthly balance of $3,491.46 being applied to the indicated post-petition

                      balance.

              (x)     If payments are made in a timely manner, the post-petition arrears will be

                      paid by April 15, 2025 (with the final payment being $11,038.43).




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              (xi)    The Debtor has agreed to continue to make all payments due pursuant to

                      the Normaze Consent Order.

              (xii)   In addition, to cure pre-petition sums due, the Debtor has agreed to pay

                      the $55,430.28 due in six (6) equal monthly installments in the amount of

                      $9,238.38 commencing on January 15, 2025 and continuing on the 15th

                      of each subsequent month through June 15, 2025.

              (xiii) All payments are to be received no later than ten (10) calendar days after

                      the date due.

              (xiv)   All payments are to be delivered to Normaze at 17 Lawrence Way, Cedar

                      Grove, NJ 07009, or such address as may be provided to the Debtor.

              (xv)    Pursuant to the Normaze Settlement Order, the Debtor was ordered to pay

                      the sums set forth above in addition to all rent and other charges due

                      pursuant to the Normaze Lease in according with the schedule set forth

                      above.

              (xvi)   If any payment is not received by Normaze within ten (10) days of the date

                      due, Normaze may commence appropriate tenancy proceeding in the

                      Superior Court of New Jersey without obtaining further relief from the

                      United States Bankruptcy Court seeking possession of the Lyndhurst

                      Location.

              (xvii) The Debtor hereby assumes the Normaze Lease pursuant to the terms of

                      the Normaze Lease.

              (xviii) Normaze’s Objection should be and hereby is withdrawn.


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                (xix)   Normaze will withdraw the ballot rejecting the Plan.

        11.       Tokyo Century (USA), Inc. (“Tokyo”) filed a motion to vacate the automatic

 stay regarding the, (1) 2012 Isuzu NQR VIN No.: JALE5W168C7900734 with 16’ Insulated Van

 Body (“Isuzu”), and the (2) 2022 Ford Transit 250 VIN NO.: 1FTBR387NKA85205 (“Ford”)

 (the Isuzu and Ford collectively the “Vehicles”) (“Tokyo Motion”). On December 12, 2024,

 Tokyo and the Debtor filed a consent order resolving the Tokyo Objection (“Tokyo Settlement

 Order”). ECF 213. The Tokyo Settlement Order terms and conditions are hereby incorporated

 into the Plan as set forth below:

                (i)     On October 30, 2024 the Court entered an order granting Tokyo’s relief

                        pursuant to the Tokyo Motion, subsequent to the Debtor filing a

                        Certification of No Objection wherein the Debtor stated it did not oppose

                        the Tokyo Motion.

                (ii)    The Debtor represented it would return the Vehicles to Tokyo, however as

                        of December 11, 2024 the Isuzu is at a garage charging storage of $90.00

                        per day with a total due for storage of $4,026.00 as of September 25, 2024

                        such that the Administrative Claim is approximately $6,930.00 as of

                        December 11, 2024. Tokyo sought the return of the Ford that is at a location

                        of 624 Page Ave., Lyndhurst, New Jersey 07071.

                (iii)   Although the Debtor has abandoned the Vehicles (“Collateral”), the Debtor

                        agrees it will cooperate with returning the Collateral to Tokyo.

                (iv)    The Debtor agrees to provide Tokyo with, (1) an Administrative Claim for

                        all storage fees of at least $6,930.00, and (2) including $90.00 per day


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                        thereafter until the date of the Confirmation Order is entered by the Court,

                        said Administrative Claim is hereby amended and incorporated into the

                        Debtor’s Plan.

        12.       Balboa Capital Corporation (“Balboa”) and the Debtor have reached an

 agreement regarding Balboa’s rejection of the Debtor’s Plan via its vote on the ballot regarding

 Balboa’s treatment of its Class 9 Claim in the unpaid principal amount of $154,547.54. On

 October 11, 2024 Balboa filed a Notice of Election of Balboa Pursuant to 11 U.S.C. § 1111(b)

 (“Balboa Election”). ECF 170. On December 5, 2024 Balboa filed the Secured Creditor Balboa’s

 Objection to the Debtor’s Plan (ECF No. 178) (“Balboa Objection”). ECF 201. Balboa and the

 Debtor have resolved the Balboa Election and Balboa Objection, with a forthcoming consent

 order to be submitted to the Court, subject to the following terms and conditions to be

 incorporated into the Debtor’s Plan:

                (i)     The Debtor shall pay Balboa $3,600.00 per month over forty-four (44)

                        months upon approval of the Debtor’s Plan.

                (ii)    Balboa will receive an Automated Clearing House (“ACH”) payment on the

                        ongoing debt payments.

                (iii)   The Debtor shall provide Balboa with pictures of the Collateral in its current

                        condition, included in the Balboa proof of claim list.

                (iv)    The Debtor shall obtain insurance on the Collateral within thirty (30) days

                        of filing Balboa and the Debtor’s consent order with the Court. Proof of

                        insurance shall be provided to Balboa within the aforementioned timeframe.




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                  (v)     The Debtor shall provide Balboa with a copy of the first page of the

                          Debtor’s principal bank account to disclose the balance of same to Balboa.

                  (vi)    Balboa shall retain a lien on the Collateral with the right of repossession

                          should the Debtor default on its payment(s) to Balboa.

                  (vii)   The first payment of $3,600.00 shall be tendered by the Debtor to Balboa

                          within ten (10) days of entry of the forthcoming consent order between the

                          Debtor and Balboa.

            13.     On October 21, 2025, Targeted Lending Co., LLC (“Targeted”) and the Debtor

 filed a Consent Order Resolving Motion for Relief from the Automatic Stay and for Adequate

 Protection Payments (“Targeted Consent Order”). ECF 176. The Targeted Consent Order’s terms

 and conditions are hereby incorporated into the Debtor’s Plan as follows:

                  (i)     On or about May 23, 2022, Targeted financed Debtor’s purchase of

                          twenty-one (21) items of commercial kitchen equipment and appliances

                          (collectively the “Equipment”), and in exchange the Debtor promised to

                          make certain payments set forth in an equipment finance agreement

                          number 124724 (the “EFA”), granting Targeted a security interest in the

                          Equipment.

                  (ii)    Targeted perfected its security interest in the Equipment by filing a UCC-

                          1 Financing Statement with the New York Secretary of State on June 2,

                          2022.

                  (iii)   The Debtor defaulted under the terms of the EFA prior to the Petition Date.




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                   (iv)      Pursuant to the Targeted Consent Order, the Debtor shall be permitted to

                             remain in possession, and maintain use, of the Equipment so long as the

                             Debtor:

                             a.        Makes monthly adequate protection payments of two-thousand

                                     dollars ($2,000) to Targeted beginning October 15, 2024 and

                                     continuing on the 15th of each month thereafter (the “Adequate

                                     Protection Payment”); and

                             b.      The Debtor maintains adequate insurance on the Equipment

                                     naming Targeted as loss payee.

            (v)           In the event the Debtor fails to timely make any Adequate Protection Payment

                          as required by the Targeted Consent Order, Targeted or its counsel shall

                          provide written notice of default (“Targeted’s Notice”) by mail to the Debtor

                          and to the Debtor’s counsel. The Debtor shall then have ten (10) calendar days

                          from the date of the Targeted Notice to cure such default. If the Debtor fails

                          to cure such default within ten (10) calendar days, the automatic stay shall

                          terminate as to Equipment without further notice, hearing or action by this

                          Court with respect to the Equipment, and Targeted shall be entitled to exercise

                          its rights and remedies pursuant to contract and/or applicable non-bankruptcy

                          law, including but not limited to taking all actions to obtain possession and

                          dispose of said Equipment.

            (vi)          The Debtor shall be entitled to a maximum of two (2) Targeted Notices and

                          opportunities to cure as set forth above. If a default occurs after the second


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                        Targeted Notice, the automatic stay shall terminate as to Targeted without

                        further notice, hearing or action by this Court with respect to the Debtor and

                        the Equipment and Targeted shall be entitled to exercise its rights and

                        remedies pursuant to contract and/or applicable non-bankruptcy law,

                        including but not limited to taking all actions to obtain possession and dispose

                        of said Equipment.

              (vii)     Any stay of the Targeted Order under Bankruptcy Rule 4001 or any similar

                        rules are hereby waived for cause, and the Targeted Order shall be effective

                        immediately upon entry of the Debtor’s Confirmation Order.

              (viii) Any such relief from stay shall apply to Debtor’s successors, transferees, and

                        assigns.

              (ix)      The relief from stay shall continue to be binding and effective upon any

                        conversion of the Debtor’s case to a case under any chapter of the Bankruptcy

                        Code.

              (x)       The Court shall retain jurisdiction over any matters arising from or related to

                        implementation or interpretation of the Targeted Consent Order.

        14.          All administrative fees, including but not limited to Subchapter V Trustee,

 Debtor’s counsel, and the Debtor’s retained accountant shall be paid within the first two (2) years

 after entry of the order confirming the Plan. Professionals shall have sixty (60) days to file final

 fee applications from entry of this Order.

        15.           Immediately upon the entry of the Confirmation Order, the Plan and this

 Confirmation Order shall be binding upon and inure to benefit of the Debtor, any heirs, executors,


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 administrators, successors and assigns thereof, and all holders of Claims or interests, and their

 respective successors and assigns, whether or not they voted to accept the Plan.

         16.      Failure specifically to include or reference particular sections or provisions of the

 Plan or any related agreement in this Confirmation Order shall not diminish or impair the

 effectiveness of such sections or provisions, it being the intent of the Bankruptcy Code that the

 Plan be confirmed and such provisions and related agreements be approved in their entirety.

         17.      This Order shall not be subject to a stay pursuant to Bankruptcy Rule 3020(e).

         18.      In accordance with 11 U.S.C. Section 1183(c)(1), the Subchapter V Trustee’s

 services shall automatically terminate upon the plan’s substantial consummation. During the post-

 confirmation period and until substantial consummation of the Plan, the Subchapter V Trustee’s

 duties shall be limited to monitoring to ensure plan payments commence and distribution reports

 are filed in accordance with paragraph 23 of this Confirmation Order.

         19.      The Court shall retain exclusive jurisdiction over this reorganization case,

 including exclusive jurisdiction over all controversies, disputes, and suits which may arise in

 connection with the interpretation or enforcement of the Plan and this Confirmation Order or in

 connection with the enforcement of remedies under the Plan and this Confirmation Order.

         20.      The discharge provision contained in the Plan is deemed incorporated herein by

 reference, as if set forth herein in full, and is approved in all respects and shall be effective as

 provided for in the Plan and sections 1191(b) and 1192 of the Bankruptcy Code.

         21.      Notwithstanding anything to the contrary in the Plan, pursuant to section 1194(b)

 of the Bankruptcy Code, the Debtor shall be responsible for all distributions to be made under the

 Plan.


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        22.      Pursuant to the terms of the Plan, the Debtor shall make disbursements to the

 following Classes:

               a. Class 1: The Debtor shall make monthly payments to the United States Small

                      Business Administration in the amount of $617.87 pursuant to the $146,522.03

                      total outstanding amount, which is amortized over thirty (30) years at 3%

                      interest.

               b. Class 2: The Debtor shall make payment to First Citizens Bank on the claim

                      amount of $120,944.36 on the value of collateral over five (5) years at 7%

                      interest.

               c. Class 3: The Debtor shall make payment to Tokyo Century Inc. (“Tokyo”) on

                      the claim amount of $76,650 on the value of collateral over five (5) years at 7%

                      interest. In addition, Tokyo holds (1) an Administrative Claim for all storage

                      fees of at least $6,930.00, and (2) including $90.00 per day thereafter until the

                      date of the Confirmation Order is entered by the Court.

               d. Class 4: The Debtor shall make payment to Channel Partners Capital, LLC on

                      the claim amount of $10,000 on the value of collateral over five (5) years at 7%

                      interest.

               e. Class 5: The Debtor shall make payment to Huntington National Bank on the

                      claim amount of $102,061.64 on the value of collateral over five (5) years at

                      7% interest.




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                   f.   Class 6: The Debtor shall make payment to Targeted in monthly adequate

                        protection payments of $2,000 beginning October 15, 2024 and continuing on

                        the 15th of each month thereafter (the “Adequate Protection Payment”).

                   g. Class 7: The Debtor shall make payment to M2 Equipment Finance, LLC on

                        the claim amount of $147,043.84 on the value of collateral over five (5) years

                        at 7% interest.

                   h. Class 8: The Debtor shall make payment to Milestone Bank FKA LLC Bank in

                        the claim amount of $126,924.99 of the value of collateral over five (5) years

                        at 7% interest.

                   i.   Class 9: The Debtor shall make payment to Balboa in the amount of $3,600.00

                        per month over forty-four (44) months upon approval of the Debtor’s Plan, with

                        the first payment due within ten (10) days of entry of the forthcoming consent

                        order between the Debtor and Balboa.8.9

                   j.   Class 10: The Debtor shall make payment to Centra Funding, LLC in the claim

                        amount of $118,300 on the of value of collateral over five (5) years at 7%

                        interest.

                   k. Class 11: The Debtor shall make payment to CFP in the amount of $116,053.28

                        over five (5) years at 7% interest, by making sixty (60) equal monthly payments

                        in the amount of $2,297.99 each, and subject to paragraph 8 above.


 8 See Paragraph 12(i)-(vii) of this Confirmation Order.
 9
  Class 9, Balboa Capital, on October 11, 2024 filed a Notice of Election pursuant to 11 U.S.C. § 1111(b)(2). ECF
 170. Balboa Capital filed its claim in the amount of $154,547.54 alleging $141,197 to be secured and $13,350.54 as
 unsecured. The Plan suggested to pay Balboa over thirty (30) years but the Debtor has proposed this amount instead.



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                l.    Class 12: The Debtor shall make payment to First Utah Bank in the amount of

                      $248,783.73 on the value of collateral over five (5) years at 7% interest.

                m. Class 13: The Debtor shall make a pro rata payment to unsecured creditors in

                      quarterly dividends over sixty (60) months per year for five (5) years. Such

                      payment shall be $15,000 per quarter. The amended projections filed on

                      December 11, 2024 shows an increase in projections to unsecured creditors on

                      year 5.

        23.          Post-confirmation, within thirty (30) days after the end of each quarter, the Debtor

 shall file with the Court a report detailing each disbursement the Debtor made during said period,

 including but not limited to, the date, amount, and recipient of each disbursement.

        24.          No later than fourteen (14) days after the Plan’s substantial consummation (or the

 Effective Date), the Debtor shall file the notice required under section 1183(c)(2). Notwithstanding

 anything to the contrary in the Plan, all assets of the Debtor shall vest in 703 Bakery Corp. as a

 reorganized debtor who has emerged from bankruptcy in accordance with sections 1191(b) and

 1184 of the Bankruptcy Code, subject to the retention of liens in assets of the Debtor securing the

 claims of secured creditors under the Plan as set forth in this Confirmation Order and as otherwise

 provided for by law.




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                       EXHIBIT A
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 McMANIMON, SCOTLAND & BAUMANN, LLC
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 Counsel for 703 Bakery Corp., Subchapter V
 Chapter 11 Debtor and Debtor-in-Possession

                               UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF NEW JERSEY

  In re:                                                            Chapter 11 (Subchapter V)

  703 BAKERY CORP.,                                                 Case No. 24-15150 (VFP)

                                 Debtor.

                      DEBTOR’S COMBINED FIRST AMENDED PLAN OF
                     REORGANIZATION AND DISCLOSURE STATEMENT

         This Plan of Reorganization is presented to you to inform you of the proposed Plan for
 restructuring the debt of 703 Bakery Corp., and to seek your vote to accept the Plan.

         You are encouraged to carefully review the full text of this document, including all exhibits
 and attachments, before deciding how to vote on the Plan. To assist you in your review, please
 note that a list of definitions and a section of frequently asked questions appear at the end of this
 document.

        IN ADDITION TO CASTING YOUR VOTE TO ACCEPT OR REJECT THE
 PLAN, YOU MAY OBJECT TO CONFIRMATION OF THE PLAN. IF YOU WISH TO
 OBJECT TO CONFIRMATION OF THE PLAN, YOU MUST DO SO BY NOVEMBER
 _____, 2024.

       YOUR BALLOT STATING HOW YOU ARE VOTING ON THE PLAN MUST BE
 RETURNED BY NOVEMBER _____, 2024. THE BALLOT MUST BE MAILED TO THE
 FOLLOWING ADDRESS: ANTHONY SODONO, III ESQ., AND SARI B. PLACONA,
 ESQ., AT MCMANIMON, SCOTLAND & BAUMANN, LLC, 75 LIVINGSTON AVENUE,
 SECOND FLOOR, ROSELAND, NEW JERSEY 07068.

       A HEARING ON THE CONFIRMATION OF THE PLAN IS SCHEDULED FOR
 _____, 2024 AT 11:00 A.M. IN COURTROOM No. 3B1 AT UNITED STATES
 BANKRUPTCY COURT, DISTRICT OF NEW JERSEY, 50 WALNUT STREET, 3RD
 FLOOR, NEWARK, NEW JERSEY 07102.


 1 Parties may appear telephonically through CourtSolutions in lieu of in-person participation.
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        Your rights may be affected by this Plan. You should consider discussing this document
 with an attorney.

 Date: October 23, 2024

 McMANIMON, SCOTLAND & BAUMANN, LLC
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 Counsel for 703 Bakery Corp.,
 Subchapter V Chapter 11 Debtor and Debtor-in-Possession




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           SUMMARY OF THE PLAN AND DISTRIBUTIONS TO CREDITORS

         703 Bakery Corp. (the “Debtor” or “703”), is the Debtor and Debtor-in-Possession in the
 instant Chapter 11, Subchapter V bankruptcy case. On May 21, 2024, the Debtor commenced a
 bankruptcy case by filing a voluntary Chapter 11 Subchapter V petition under the United States
 Bankruptcy Code, 11 U.S.C. § 101, et seq. Chapter 11 of the Bankruptcy Code allows the Debtor
 to propose a plan of reorganization.

         The plan may provide for the Debtor to reorganize by continuing to operate, to liquidate
 by selling assets of the estate, or a combination of both. This is a reorganizing plan (“Plan”).

         On August 30, 2020, pursuant to a U.S. Small Business Administration (“SBA”) Loan
 Authorization and Agreement dated August 30, 2020, Debtor borrowed $36,700.00. In connection
 with the SBA Loan, the Debtor executed a Security Agreement. The SBA recorded a UCC-1 lien.
 On February 19, 2022, the Debtor executed and delivered to SBA an Amended Loan Agreement,
 through the Disaster Loan Application, in the principal amount of $146,500.00. The Debtor
 executed an Amended Security Agreement, which granted the SBA a security interest in and to
 certain goods, including, but not limited to, inventory, equipment, fixtures, instruments,
 documents, accounts, chattel paper, deposit accounts, letter of creditor rights, investment property,
 general intangibles and proceeds thereof. As of the Petition Date, there remained due and owing
 to the SBA under the SBA Loan of approximately $135,000.00. On May 28, 2024, the SBA filed
 its proof of claim in the amount of $146,552.03 (the “SBA Claim”). See Claim 2. The SBA Claim
 shall be amortized over thirty (30) years at 3% interest. The monthly payment is $617.87 monthly.
 The SBA holds a secured claim on all of the Debtor’s assets but for purchase money security
 interest creditors.

      Pursuant to the Final Order Authorizing Use of Cash Collateral, the Debtor ensured the
 SBA will be adequately protected during the pendency of the bankruptcy case. ECF 107.

         On January 11, 2024, 703 entered into a Loan Agreement with Square Financial Services
 Inc. (“Square”) for 703 Bryant Park Location. In the Agreement, 703 borrowed $148,233.00 at a
 repayment rate of 20%. Upon information and belief, Square has a secured interest in (a) all Square
 Accounts, Receivables, and all balances in all Square Accounts; (b) all accounts, chattel paper,
 commercial tort claims, deposit accounts, documents, general intangibles, goods, instruments,
 investment property, letter-of-credit rights, letters of credit and money, however, after the purchase
 money security interest liens on the assets at the 703 Bryant Park location , there is no value in the
 Square’s collateral. Thus, Square’s claim is unsecured.

        703 accrued between $300,000 and $400,000 in debt from Rossman Fruit & Vegetables
 Dist. Inc. (“Rossman”), a Perishable Agricultural Commodities Act (“PACA”) licensed
 organization. Rossman, however, has not established a viable PACA claim under the law. Thus,
 Rossman holds an unsecured claim.

        Upon information and belief, on January 31, 2020, 703 borrowed $190,000 from Share
 Zion Catering, LLC to purchase equipment from Direct Kitchen Equipment with a 61-month term.



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        Upon information and belief, on June 1, 2022, 703 borrowed $82,510.06 from Targeted
 Lending Co., LLC (“Targeted Lending”) for kitchen equipment with a 60-month term at a rate of
 $2,095.00 per month. On or about October 18, 2024, Targeted and the Debtor entered into a
 Consent Order Resolving Motion for Relief from the Automatic Stay for Adequate Protection
 Payments (the “Consent Order”) (ECF 173). The Consent Order indicates the Debtor will make
 monthly adequate protection payments of $2,000 to Targeted Lending beginning on October 15,
 2024 and continuing each month thereafter.

       Upon information and belief, on June 2, 2022, 703 borrowed $149,080.75 from Banclease
 Acceptance Corp. for kitchen equipment with a 60-month term at a rate of $3,114.83 per month.

         Upon information and belief, on July 5, 2022, 703 borrowed $55,000 from Citizens Capital
 for equipment purchased from Direct Kitchen Equipment with a 60-month term. The Debtor’s plan
 shall provide for payment to the equipment financiers the “value” of such equipment over five (5)
 years at 7%.

         Upon information and belief, 703 entered into an Equipment Finance Agreement with m2
 Equipment Finance LLC for $83,180.50 to purchase a walk-in refrigerator and walk-in freezer
 from Direct Kitchen Equipment at a rate of $1,764.37 per month with a 60-month loan term. The
 Debtor’s plan shall provide for payment to the equipment financiers the “value” of such equipment
 over five (5) years at 7%.

        Upon information and belief, on July 26, 2022, 703 leased a gas oven from Direct Kitchen
 Equipment for $30,000 with a 60-month lease term That same day, 703 completed an Equipment
 Financing Agreement with Citizens Capital at a rate of $1,295 per month with a 60-month lease
 term. Upon information and belief, on August 3, 2022, 703 borrowed $70,768.75 from Centra
 Funding, LLC to purchase a walk-in freezer from Direct Kitchen Equipment.

        Upon information and belief, on August 9, 2022, 703 Bakery signed a Lease Addendum
 with Pawnee Leasing Corporation as part of the Lease Agreement 703 made on July 5, 2022, for
 $30,000 for equipment to be paid $840.74 a month with a 60-month lease term.

       Upon information and belief, on August 18, 2022, 703 entered into a lease Commercial
 Funding Partners, LLC with a 60-month term.

       Upon information and belief, on or around September 16, 2022, 703 leased two used
 Wishek Dibas 64 Blue Baking Bake Bread Ovens and a pan washer from Envision Capital Group
 LLC for $108,657.25 with a 60-month lease term at a rate of $2,434.92 per month.

        Upon information and belief, on August 21, 2022, 703 signed an Equipment Finance
 Agreement with Regents Capital Corporation to purchase a Wiesheu Dibas 64 Blue Baking Bread
 oven, pan washer, and tax for $108,657.25.

        Upon information and belief, on October 1, 2022, 703 entered into a lease in the amount
 of $290,250.31 from CFP New York, LP with a 60-month lease term kitchen equipment from
 Direct Kitchen Equipment.

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        Upon information and belief, on March 1, 2023, 703 entered into an agreement with First-
 Citizens Bank & Trust Company to purchase a walk-in freezer and a walk-in refrigerator from
 Direct Kitchen Equipment with a 60-month lease term at a monthly rate of $2,539.97.

       Upon information and belief, on May 3, 2024, 703 purchased equipment for $120,000 with
 a 60-month lease term from Commercial Funding Partners, LLC.

        The Debtor’s above listed creditors hold alleged secured claims are wholly unsecured
 based on the lack of any value to secure such claims. Thus, such creditors’ claims shall be treated
 are general unsecured creditors.

         The Debtor proposes to pay Class 13 Creditors (General Unsecured Creditors) quarterly
 dividends over sixty (60) months.. The Debtor will allocate $60,000 per year ($15,000 per quarter)
 for five (5) years to Unsecured Creditors holding Allowed Unsecured Claims. The Debtor
 reserves its rights to expunge and/or reduce claims. Class 13 payments shall commence with the
 quarter starting on the first day of the month which is thirty days (30) after an order confirming
 the plan becomes final and non-appealable.

         The Debtor believes that this Plan is in the best interest of the creditors and that the Plan is
 fair and equitable. Otherwise, if the assets were liquidated, the unsecured creditors would not
 receive any payment since all assets are encumbered.




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       ARTICLE 1: HISTORY OF THE BUSINESS OPERATIONS OF THE DEBTOR

      1.1. Filing of the Debtor’s Chapter 11 Case.

          On May 21, 2024 (the “Petition Date”), the Debtor commenced its bankruptcy case by
 filing a voluntary Chapter 11, Subchapter V petition under the United States Bankruptcy Code, 11
 U.S.C. § 101, et seq. ECF 1.

        The Debtor is a corporation in New Jersey that continues to operate as a
 debtor-in-possession pursuant to sections 1107(a) and 1108 of the Code.

      1.2. Nature of the Debtor’s Business.

       The Debtor is an artisan bakery and café and operates a manufacturing facility in
 Lyndhurst, New Jersey as well as retail stores in New York and New Jersey.

      1.3. History of Business Operations of the Debtor

         As mentioned in paragraph 1.2, the Debtor is an artisan bakery and café that operates a
 manufacturing facility and eight (8) retail stores. The Debtor has approximately 131 employees,
 20 of which are employed on a part-time basis. The Debtor has eight operating stores in New
 Jersey and New York and one manufacturing facility in New Jersey. The Debtor operates retail
 stores and a manufacturing facility at the following locations:

          i.       676 Amsterdam Ave, NY, NY 10025 (“Amsterdam”).
          ii.      The Arthouse Hotel at 2178 Broadway, NY, NY10024 (“Arthouse”).
          iii.     1716 Avenue M, Brooklyn, NY 11230 (“1716 Avenue”).
          iv.      44 West 37th Street, NY, NY 10018 (“Bryant Park”).
          v.       266 Kingston Ave, Brooklyn, NY 11213 (“Crown Heights”).
          vi.      1700 Madison Ave, Lakewood, NJ 08701 (“Lakewood”).
          vii.     295 Burnside Ave, Lawrence, NY 11559 (“Lawrence”).
          viii.    323 Ridge Rd, Lyndhurst, NJ 07071 (“Lyndhurst”) – this is the manufacturing
 facility.
          ix.      439 Cedar Ln, Teaneck, NJ 07666 (“Teaneck”).

         The Debtor intends to reorganize through restructuring its debt to creditors in this Plan and
 seeking an equity infusion from a strategic partner for working capital. Moreover, the Debtor seeks
 to open several more stores so that the manufacturing overhead can be spread over a larger number
 of stores and reduce costs. The goal is to paycreditors in accordance with the Plan, maintain the
 Debtor’s assets and business while retaining over 100 employees. With these strategic moves,
 the Debtor is well-positioned to regain its financial stability and continue towards a profitable-
 growth path, leveraging its strengths to service its customers effectively, and build a sustainable
 future.

      1.4. Legal Structure and Ownership.



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         The Debtor is a corporation organized in New Jersey. Oleg Azizov (“Azizov”) is the
 Debtor’s President and Chief Executive Officer. As of the Petition Date, Azizov owned 99.5% of
 the Debtor and Jacob Hammerman owned .5% of the Debtor. Pursuant to post-petition financing,
 Azizov now owns 59.5% of the Debtor, Jacob Hammerman owns .5% of the Debtor, and Natures
 Necessity LLC (“Natures”) owns 40% of the Debtor. Ajay Sarin, the 100% owner of Natures, is
 now the Chief Financial Officer of the Debtor. ECF 169. Pursuant to the financing order, Mr.
 Sarin promised $450,000 in financing. He already provided $150,000 and the second installment
 is due on October 30, 2024.



      1.5. Debtor’s Assets.

         The Debtor’s assets are comprised of equipment and vehicles, deposits, inventory, office
 furniture and fixtures, receivables and cash. Its assets are fully set forth on the schedules and
 statement of financial affairs and the Debtor opines the assets have a value of approximately
 $392,178.82. The assets are fully encumbered by purchase money security interest lien holders or
 the SBA.

      1.6. Debtor’s Liabilities.

          The Debtor’s liabilities total $4,448,045.39 as of June 24, 2024.

 The following claims are secured:

 SBA Loan

         On August 30, 2020, 703 executed and delivered to the U.S. Small Business Administration
 (the “SBA”) a Loan Agreement in the principal amount of $36,700.00 (the “Loan”). The Loan
 further provides that interest shall be accrued on the Loan at a rate of 3.75% per annum, with
 monthly payments of principal and interest in the amount $179.00 commencing twelve (12)
 months from the date of promissory Note, and with all outstanding principal and interest due and
 owing on a maturity date of thirty (30) years from the date of the promissory Note.

        On February 19, 2022, 703 executed and delivered to the SBA an Amended Loan
 Agreement, through the Disaster Loan Application, in the principal amount of $146,500.00. The
 Loan further provides that interest shall be accrued on the Loan at a rate of 3.75% per annum, with
 monthly payments of principal and interest in the amount $741.00 commencing twenty-four (24)
 months from the date of promissory Note, and with all outstanding principal and interest due and
 owing on a maturity date of thirty (30) years from the date of the Note.

          To secure the obligations evidenced by the Loan Agreement, 703 granted the SBA a
 security interest in and to certain goods, including, but not limited to, inventory, equipment,
 fixtures, instruments, documents, accounts, chattel paper, deposit accounts, letter of credit rights,
 investment property, general intangibles, and the proceeds thereof.. On May 28, 2024, the SBA
 filed its proof of claim in the amount of $146,552.03. See Claim 2. Upon information and belief,
 the value of the Debtor’s collateral fully secures the SBA’s lien subject to due diligence on Samuel

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 Nebenzahl’s claim (which he alleges is a valid secured claim – the Debtor is still conducting due
 diligence on such claim).

 Nebenzahl, Samuel

     Debtor owes Nebenzahl, Samuel (“Nebenzahl”) an unknown amount on a blanket lien on
 Debtor’s assets. Nebenzahl’s UCC-1 description of collateral is inadequate, and thus he is
 unsecured. The Debtor shall file a motion to expunge the claim.



 Gift Cards

      Pre-petition Debtor has sold approximately 21,000 gift cards with a balance of $851,000. This
 has been reduced substantially. The Debtor intends to allow the purchasers of such cards to
 continue to use the cards post-petition to maintain customer confidence.

      1.7. Current and Historical Financial Conditions.

       Since filing for bankruptcy, the Debtor has taken steps to reorganize its finances and
 minimize expenses to emerge from bankruptcy.

      1.8. Events Leading to the Filing of the Bankruptcy Case.

          The Debtor’s financial issues stem from the liabilities set forth in section 1.6, which arose,
 in part, to the legacy debt accrued during the Covid pandemic. In addition, the Debtor has certain
 leases and finance agreements with certain vehicle and equipment lenders. Debtor owes certain
 vendors, banks, line of credits and credit cards debts. Ultimately, Debtor filed for the voluntary
 Chapter 11 petition to stave off an eviction proceeding at the Times Square location.
 Unfortunately, the Debtor was unable to keep the Times Square location and turned it over to the
 landlord.

      1.9. Significant Events During the Bankruptcy Case.

          The Debtor filed its voluntary Chapter 11 petition on the Petition Date.

          The following is a chronological list of significant events which have occurred during this
 case:

        On the Petition Date, the Debtor filed for protection under Subchapter V, Chapter 11 of the
 Code. Docket No. 1.

          The Debtor filed the following motions (collectively, the “First Day Motions”):

                   a. Moton for Authority to Continue to Use Existing Bank Accounts and Business
                      Forms. ECF 6.


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                   b. Motion for Continuation of Utility Service and Approval of Adequate
                      Assurance of Payment to Utility Company Under Section 366(b). ECF 7.
                   c. Motion to Use Cash Collateral. ECF 8.
                   d. Motion for an Order Authorizing Debtor to Continue Credit Card Facilities.
                      ECF 9.
                   e. Motion for an interim and final order (I) authorizing the Debtor to (A) pay
                      prepetition wages and related obligations; (B) pay and remit payroll taxes and
                      other deductions to third parties; and (II) authorizing and directing all banks to
                      honor checks and transfers for payment of prepetition employee obligations.
                      ECF 10.
                   f. Motion Authorizing the Debtor to Maintain and Administer its Existing
                      Customer Program and Honor Certain Prepetition Obligations. ECF 11.
                   g. Motion authorizing Data Points Enterprise, LLC’s acquisition of equity
                      ownership in exchange for payment to fund operations and granting related
                      relief, this motion was ultimately withdrawn. ECF 12.
                   h. Motion authorizing Cogent Waste Solutions LLC, Interstate Waste Services,
                      Inc., Express Recycling and Sanitation, Industrial Carting and Waste
                      Connections of New York Inc as critical vendors pursuant to 11 U.S.C. 105(a)
                      nunc pro tunc. ECF 13.

       On May 22, 2024, the Debtor filed an Application for Retention of Professional
 McManimon, Scotland & Baumann, LLC (“MSB”) as Attorneys (the “MSB Retention”). ECF 4.
 On June 12, 2024, the Court entered an Order granting the MSB Retention. ECF 68.

       On May 24, 2024, Mark Politan was appointed as the Subchapter V, Chapter 11 Trustee.
 ECF 16.

         On May 30, 2024, the Court entered an order authorizing the Debtor to continue using
 existing bank accounts and business forms. ECF 40.

        On May 30, 2024, the Court entered an interim order (i) prohibiting utility companies from
 discontinuing, altering or refusing service, (ii) deeming utility companies to have adequate
 assurance, and (iii) establishing procedures for resolving requests for additional assurance pursuant
 to 11 U.S.C. §§ 105(a) and 366. ECF 41.

         On May 30, 2024, the Court entered an interim order authorizing the Debtor’s use of cash
 collateral. ECF 42. The Debtor is required to make adequate protection payments to the SBA in
 the monthly amount of $741.

        On May 30, 2024, the Court entered an order directing payment credit card processor to
 honor the processing agreement with the Debtor pending assumption or rejection under 11 U.S.C.
 §§ 365 and 105(a). ECF 43.

         On May 30, 2024, the Court entered an interim order (i) authorizing the Debtor to (A) pay
 prepetition wages and related obligations; (B) pay and remit payroll taxes and other deductions to


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 third parties; and (ii) authorizing and directing all banks to honor checks and transfers for payment
 of prepetition employee obligations. ECF 44.

        On May 30, 2024, the Court entered an order authorizing the Debtor to maintain and
 administer its existing customer program and honor certain prepetition obligations. ECF 45.

        On May 31, 2024, the Court entered an order designating (i) Cogent Waste Solutions LLC
 and Interstate Waste Services, Inc as critical vendors pursuant to 11 U.S.C. § 105(a), and (ii)
 authorizing but not directing payment to such critical vendors. ECF 48.

       On June 10, 2024, the Court entered an order granting application to employ Vestcorp,
 LLC as accountant. ECF 66.

        On July 16, 2024, the Court entered an order authorizing Debtor to continue using existing
 bank accounts and business forms. ECF 88.

         On July 16, 2024, the Court entered Final Order (i) authorizing the Debtor to (a) pay
 prepetition wages and related obligations, (b) pay and remit payroll taxes and other deductions to
 third parties, and (ii) authorizing and directing all banks to honor checks and transfers for payment
 of prepetition employee obligations. ECF 89.

        On July 16, 2024, the Court entered Final order (i) prohibiting utility companies from
 discontinuing, altering, or refusing service, (ii) deeming utility companies to have adequate
 assurance of payment, and (iii) establishing procedures for resolving requests for additional
 assurance pursuant to 11 U.S.C. §§ 105(a) and 366. ECF 90.

        On July 18, 2024, the Court entered Final Order Authorizing Debtors Use of Cash
 Collateral. ECF 107.

         On July 26, 2024, DRLR Investments LLC (“DRLR”) filed a Motion for Entry of An Order
 (I) Determining the Debtor is Ineligible for Subchapter V Relief and (II) Granting Related Relief.
 ECF 117. The Debtor and DRLR are negotiating a resolution.

          On July 29, 2024, the Court entered an Order Authorizing the Debtor to (I) Obtain Post-
 Petition Financing Pursuant to 11 U.S.C. § 364(b) and (II) Related Relief (the “DIP Funding
 Order”). ECF 119. The DIP Funding Order authorized DM Brands, LLC (“DM Brands”) to
 provide the Debtor with financing in the amount of $400,000. Unfortunately, DM Brands only
 funded $150,000 to the Debtor. The Debtor obtained an alternative funding source discussed
 herein..

        On October 10, 2024, the Court entered a second Order Authorizing Subchapter V, Chapter
 11 Debtor to (I) Obtain Post-Petition Funding pursuant to 11 U.S.C. § 364(b); (II) Terminate DIP
 Funding with DM Brands and Reimburse DM Brands Certain Funds Advanced; and (III) Related
 Relief (the “Second DIP Funding Order”). ECF 169. The Second DIP Funding Order was
 necessary because DM Brands failed to comply with its agreement with the Debtor and only
 funded $150,000 of the promised $400,000. In addition, DM Brands was nonresponsive to

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 Debtor’s requests to provide the additional $250,000. DM Brands delay in providing the entire
 $400,000 had a negative effect on the Debtor’s operations, i.e., inability to meet post-petition
 obligations.

        The Second DIP Funding Order authorized Natures2 to provide the Debtor financing in the
 amount of $450,000. Natures provided the Debtor with said financing in exchange for the Debtor’s
 principal, Azizov, granting Natures 40% equity interest in the Debtor. $400,000 of Natures’s
 funding is allocated to the Debtor for the payment of post-petition expenses. $50,000 of Natures’s
 financing will remain with MSB for professional fees. In addition to Natures financing of
 $450,000, Natures agreed to pay Azizov $60,000 for past due wages over a duration of six (6)
 months. Ajay Sarin, the 100% owner of Natures, became the Chief Financial Officer of the Debtor
 upon approval of the Second DIP Funding Order. Azizov remains the President and Chief
 Executive Officer of the Debtor. Moreover, DM Brands will be reimbursed $150,000 from
 Natures. Lastly, DM Brands and the Debtor agreed to release any and all claims between them
 pursuant to the Second DIP Funding Order.


      1.10.        Projected Recovery of Avoidable Transfers

      The Debtor is analyzing its books and records to determine if there are any avoidable
 transfers to recover.

                                        ARTICLE 2: THE PLAN.

        The Debtor’s Plan must describe how its Creditors will be paid. Certain Claims are entitled
 to specific treatment under the Bankruptcy Code and are not placed in a class or purpose of
 payment. For example, Administrative Expenses and Priority Tax Claims are not classified.

         As required by the Code, the Plan places Claims and Equity Interests in various classes and
 describes the treatment each class will receive. The Plan also states whether each class of Claims
 or Equity Interests is impaired or unimpaired. A Claim or Equity Interest can be impaired if the
 Plan alters the legal, equitable or contractual rights to which the Claimants are otherwise entitled.
 If the Plan is confirmed, each Creditor’s recovery is limited to the amount provided in the Plan.



      2.1. Unclassified Claims.

         Certain types of Claims are automatically entitled to specific treatment under the Code. For
 example, Administrative Expenses and Priority Tax Claims are not classified. They are not
 considered impaired, and holders of such Claims do not vote on the Plan. They may, however,
 object if, in their view, their treatment under the Plan does not comply with that required by the
 Code.



 2
  Natures is defined in section 1.4 of the Debtor’s Combined First Amended Plan of Reorganization and Disclosure
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     As such, the Plan does not place the following Claims in any class:

               A. Administrative Expenses

         The Debtor must pay all Administrative Expenses in full. If an Administrative Expense is
 disputed, the Bankruptcy Court must determine the validity and amount of the Administrative
 Expense, or in other words, “allow” the Administrative Expense. Any Administrative Expense that
 is undisputed and is due and owing on the Confirmation Date must be paid in accordance with this
 Plan, or upon such other terms as agreed upon by the Debtor and the Administrative Claimant or
 court order. If the Administrative Expense is disputed, payment will be made after the
 Administrative Expense is allowed by the Bankruptcy Court.

          There are several types of Administrative Expenses, including the following:

                 1.     If the Debtor trades in the ordinary course of business following its filing of
          the Chapter 11 Case, Creditors are entitled to be paid in full for the goods or services
          provided. This ordinary trade debt incurred by the Debtor after the Petition Date will be
          paid on an ongoing basis in accordance with the ordinary business practices and terms
          between the Debtor and its trade Creditors.

                 2.     If the Debtor received goods it has purchased in the ordinary course of
          business within 20 days before the Petition Date, the value of the goods received is an
          Administrative Expense.

                  3.      Administrative Expenses also include any post-petition fees and expenses
          allowed to professionals, including the allowed claim of the Trustee for fees and/or
          reimbursements, and for attorneys and accountants employed upon Bankruptcy Court
          authority to render services to the Debtor during the course of the Chapter 11 cases. These
          fees and expenses must be noticed to Creditors and approved by the Bankruptcy Court
          prior to payment.

        The following chart lists the Debtor’s estimated Administrative Expenses,3 and their
 proposed treatment under the Plan:




 3
  E.O.M. Realty NY Corp filed a claim seeking administrative expense for unpaid post-petition rent. Claim 71. The
 Debtor disputes this amount and reserves the right to file a motion to expunge and/or reduce such claim.
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                                                                                                     TYPE OF
           NAME                       AMOUNT                         TREATMENT                        CLAIM
                                     ESTIMATED
 McManimon, Scotland                   $120,0004               Payment in full on                  Administrative
 & Baumann, LLC                                                Effective Date, or through
                                                               other agreement
 Vestcorp, LLC                            $12,000              Payment in full on                  Administrative
                                                               Effective Date, or through
                                                               other agreement
Mark Politan                               $7,760.685          Payment in full on                  Administrative
                                                               Effective Date, or through
Sub V Trustee                                                  other agreement
750 8th Avenue LLC                      $123,281.836           Payment in full over five           Administrative
                                                               (5) years , or through
                                                               other agreement
         APPROXIMATE
               TOTAL                  $263,042.51
                                   (estimated)

               B. Priority Tax Claims.

        Priority Tax Claims are unsecured income, employment, and other taxes described by §
 507(a)(8) of the Code. Unless the holder of such a § 507(a)(8) Priority Tax Claim agrees otherwise,
 it must receive the present value of such Claim, in regular installments paid over a period not
 exceeding 5 years from the order of relief.

          Each holder of a Priority Tax Claim will be paid as set forth in the chart below:

        New York State Department of Tax and Finance filed a claim in the amount $42,234 (the
 “NY Tax Claim”). Claim 3. The NY Tax Claim shall be paid over five years in monthly payments
 of $703.90.

       New York State Department of Labor filed a claim in the amount of $120.60 (the “DOL
 Claim”). Claim 56. The DOL Claim shall be paid upon confirmation of the plan.

        New York State Department of Tax and Finance filed a claim in the amount of $30,934.11
 (the “NYS Claim”). Claim 74. The NYS Claim alleges it is owed priority sales tax11 U.S.C.
 507(a)(8). The NYS Claim shall be paid over sixty months at $515 monthly.



 4
   Fees are estimated through August 2024. MSB holds a retainer of $23,207 will be applied to the fees and costs upon
 order of the court. The Debtor shall pay MSB upon confirmation or agreed upon arrangement.
 5
  Court order entered on September 24, 2024. The Sub V Trustee is holding a $5,000 retainer.
 6 The Debtor and 750 8th Avenue LLC have agreed on this amount as an administrative expense, for payment of pre-

 and post-petition arrears to 750 8th Avenue LLC to satisfy the Order entered by the Court granting 750 8th Avenue
 LLC an allowed administrative claim for unpaid rent on July 16, 2024. ECF 91.
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        State of New Jersey – Division of Taxation filed a claim in the amount of $348,350.79 (the
 “NJ Claim”). Claim 75. The Debtor believes the NJ Claim is overstated. The NJ Claim alleges
 $336,060.28 is priority under 11 U.S.C. 507(a)(8). The Debtor disputes this and file a motion to
 expunge and/or reduce the claim.

         2.2. Classes of Claims and Equity Interests.

         The following are the classes set forth in the Plan, and the proposed treatment that they
 will receive under the Plan:

               A. Classes of Secured Claims

         Allowed Secured Claims are Claims secured by property of the Debtor’s bankruptcy estate
 (or that are subject to setoff) to the extent allowed as secured Claims under § 506 of the Code. If
 the value of the collateral or setoffs securing the Creditor’s Claim is less than the amount of the
 Creditor’s Allowed Claim, the deficiency will be classified as a general unsecured Claim. In
 addition, certain claims secured only by the debtor's principal residence, may require different
 treatment pursuant to § 1190(3) of the Code as set forth below, if applicable.

         Secured creditors in bankruptcy often face the prospect of recovering less than the full
 value of their claims against a debtor. This frequently arises when the creditor’s collateral is worth
 less than the amount of its claim, thus, it is either an “undersecured claim” or if there is no value
 in the collateral securing the claim, the creditor holds an “unsecured” claim. Undersecured claims
 are bifurcated into two separate claims: (1) a secured claim for the value of the collateral, and (2)
 an unsecured claim for the remainder of the creditor’s claim. Secured claims are typically paid in
 full, while unsecured creditors often receive less than the amount owed.



         The following chart lists all classes containing the Debtor’s secured prepetition Claims and
 their proposed treatment under the Plan:

 CLASS          DESCRIPTION        INSIDERS       IMPAIRED AMOUNT                 TREATMENT
                                                           OWED
                                      (Y/N)         (Y/N)
     1            SBA Loan              N               Y         $146,552.03     The SBA’s $146,552.03
                                                                    per claim     shall be amortized over
                                                                  filed (Claim    thirty (30) years at 3%
                                                                        2)        interest.  The    monthly
                                                                                  payment     is    $617.87
                                                                                  monthly.

     2            First Citizens        N               Y         $120,944.36     Payment of value of
                  Bank                                              per claim     collateral over five years at
                                                                  filed (Claim    7% interest.
                                                                        1)


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 CLASS          DESCRIPTION            INSIDERS         IMPAIRED AMOUNT                      TREATMENT
                                          (Y/N)           (Y/N)  OWED

     3         Tokyo Century                 N                 Y           $76,650.007       Payment of value of
               Inc.                                                          per claim       collateral over five years at
                                                                           filed (Claim      7% interest.
                                                                                25)
     4            Channel                    N                 Y           $10,000.008       Payment of value of
                  Partners                                                   per claim       collateral over five years at
                  Capital, LLC                                             filed (Claim      7% interest.
                                                                                44)
     5            Huntington                 N                 Y           $102,061.64       Payment of value of
                  National Bank                                              per claim       collateral over five years at
                                                                           filed (Claim      7% interest.
                                                                                45)
     6            Targeted                   N                 Y           $24,000.009       Payment of value of
                  Lending Co.,                                               per claim       collateral over five years at
                  LLC                                                      filed (Claim      7% interest.
                                                                                48)
     7            M2 Equipment               N                 Y           $147,043.84       Payment of value of
                  Finance, LLC                                               per claim       collateral over five years at
                                                                           filed (Claim      7% interest.
                                                                                49)
     8            Milestone Bank             N                 Y           $126,924.99       Payment of value of
                  FKA LCA                                                    per claim       collateral over five years at
                  Bank                                                     filed (Claim      7% interest.
                                                                                53)
     9            Balboa                     N                 Y           $141,197.00       Payment over thirty (30)
                  Capital10                                                      11
                                                                                             years ..
     10           Centra                     N                 Y           $118,300.00       Payment of value of
                                                                           12
                  Funding, LLC                                                per claim      collateral over five years at
                                                                           filed (Claim      7% interest.
                                                                                65)




 7
   Claim filed in the amount of $79,191.32. Claim 25.
 8
   Claim filed in the amount of $65,066.15. Claim 44.
 9
   Claim filed in the amount of $78,083.55. Claim 48.
 10
    On October 11, 2024, Balboa Capital Corporation (“Balboa”), by and through its counsel Becker, LLC, filed its
 Notice of Election Pursuant to 11 U.S.C. § 1111(b)(2). ECF 170.
 11
    Balboa filed its claim in the amount of $154,547.54 alleging $141,197 to be secured and $13,350.54 as unsecured.
 12
    Claim filed in the amount of $176,281.90. See Claim 65.
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 CLASS          DESCRIPTION         INSIDERS       IMPAIRED AMOUNT                  TREATMENT
                                      (Y/N)          (Y/N)  OWED

    11            CFP New York,          N               Y          $116,053.28     Payment of value of
                  LP                                                  per claim     collateral over five years at
                                                                    filed (Claim    7% interest.
                                                                         67)
    12            First Utah Bank        N               Y          $248,783.73     Payment of value of
                                                                      per claim     collateral over five years at
                                                                    filed (Claim    7% interest.
                                                                         70)

               B. Classes of Priority Unsecured Claims.

         Certain priority Claims that are referred to in §§ 507(a)(1), (4), (5), (6), and (7) of the Code
 are required to be placed in classes. The Code requires that each holder of such a Claim receive
 cash on the Effective Date of the Plan equal to the allowed amount of such Claim. However, a
 class of holders of such Claims may vote to accept different treatment.

         The following chart lists all classes containing Claims under §§ 507(a)(1), (4), (5), (6), and
 (a)(7) of the Code and their proposed treatment under the Plan:

         AJH Management, LLC filed a claim in the amount of $51,652.37 (the “AJH Claim”) for
 lease of property located at 1700 Madison Avenue. Claim 73. The AJH Claim alleges $3,350 is
 priority status. The priority part of the AJH Claim shall be paid over five years in monthly amounts
 of $55.83.

            Class of General Unsecured Claims

         General unsecured Claims are not secured by property of the estate and are not entitled to
 priority under § 507(a) of the Code.

        The following chart identifies the Plan’s proposed treatment of Class 2, which contains
 general unsecured Claims against the Debtor:




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  Class #                       Description                        Impairment           Treatment

        13      General Unsecured Class                                Y

                Total     amount      of     claims  =                          Pro rata payment in
                                13
                ($4,124,812.39) (this amount is subject                         quarterly dividends over
                to objection and reclassification,)                             sixty (60) months – $60,000
                                                                                per year for five (5) year.
                                                                                Such payments shall be
                                                                                $15,000 per quarter.


                C. Class of Equity Interest Holders.

          Equity Interest holders are parties who hold an ownership interest (i.e., equity interest) in
 a debtor. In a corporation, entities holding preferred or common stock are Equity Interest holders.
 In a partnership, Equity Interest holders include both general and limited partners. In a limited
 liability company (“LLC”), the Equity Interest holders are the members. Since the Debtor is a
 corporation, entities holding preferred or common stock are Equity Interest holders. The Debtor’s
 membership interests are, (1) Oleg Azizov owns 59.5%of Debtor, (2) Jacob Hammerman owns
 .5% of the Debtor, and (3) Natures owns 40% of the Debtor pursuant to the Second DIP Funding
 Order. All the equity holders shall retain their Equity Interest.

             The Plan provides for all the Debtor’s assets to revest in the Debtor.

         2.3. Estimated Number and Amount of Claims Objections.

         The Debtor may object to the amount or validity of any Claim within 60 days of the
 Confirmation Date by filing an objection with the Bankruptcy Court and serving a copy of the
 objection on the holder of the Claim. The Claim objected to will be treated as a Disputed Claim
 under the Plan. If a claim is disputed, once such claim is adjudicated by the court, it will be
 disallowed, allowed, reclassified or reduced. An Allowed Claim will be paid in accordance with
 the Plan.

         2.4. Treatment of Executory Contracts and Unexpired Leases.

          Executory Contracts are contracts where significant performance of the contract remains
 for both the Debtor and another party to the contract. The Debtor has the right to reject, assume
 (i.e., accept), or assume and assign these types of contracts to another party, subject to the
 Bankruptcy Court’s approval. The paragraphs below explain the Debtor’s intentions regarding its
 Executory Contracts (which includes its unexpired leases) and the impact such intentions would
 have on the other parties to the contracts.

 Check all that apply:



 13
      As scheduled on the filed missing document(s). See ECF 78.
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 [ X] Assumption of Executory Contracts.

          The Executory Contracts shown on Exhibit B shall be assumed by the Debtor.

         Assumption means that the Debtor has elected to continue to perform the obligations under
 such contracts and unexpired leases, and to cure defaults of the type that must be cured under the
 Bankruptcy Code, if any. Exhibit B also lists how the Debtor will cure and compensate the other
 party to such contract or lease for any such defaults.

         If you object to the assumption of your unexpired lease or executory contract, the proposed
 cure of any defaults, or the adequacy of assurance of future performance, you must file and serve
 your objection to the assumption within the deadline for objecting to the confirmation of the Plan,
 unless the Bankruptcy Court has set an earlier time.

 OR

 [ ] Assumption and Assignment of Executory Contracts and Unexpired Leases.

         The Executory Contracts shown on Exhibit __ shall be assumed by the Debtor and assigned
 to the party listed in that Exhibit. Assumption and assignment by the Debtor means that the Debtor
 will undertake the obligations under such contracts and unexpired leases, will cure defaults of the
 type that must be cured under the Bankruptcy Code, if any, and will assign the contract to the party
 listed.

         If you object to the assumption and assignment of your unexpired lease or executory
 contract, the proposed cure of any defaults, or the adequacy of assurance of future performance,
 you must file and serve your objection to the assumption and assignment within the deadline for
 objecting to the confirmation of the Plan, unless the Bankruptcy Court has set an earlier time.

 OR

 [ ] Rejection of Executory Contracts and Unexpired Leases.

          The Executory Contracts shown on Exhibit B shall be rejected by the Debtor.

        Further, the Debtor will be conclusively deemed to have rejected all executory contracts
 and/or unexpired leases, not expressly shown on Exhibit B, or not assumed before the date of the
 order confirming the Plan.

         Rejection means that the Debtor has elected not to continue to perform the obligations
 under such contracts or leases. If the Debtor has elected to reject a contract or lease, the other party
 to the contract or lease will be treated as an unsecured Creditor holding a Claim that arose before
 the bankruptcy was filed. The Debtor has leases for the premises it operates out of and for vehicles
 it operates for the business.

      2.5. Means for Implementation of the Plan.



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         The Plan will be funded by the Debtor’s continued monthly income from operations. The
 Debtor may also seek an equity infusion from a potential partner. There shall be no prepayment
 penalty for any priority, administrative or Class of claims referenced above. The Debtor also
 anticipates increasing its marketing campaign, advertising and promotional deals. Furthermore,
 the Debtor intends on opening two (2) additional stores in Englewood, New Jersey and at 1311
 Lexington Avenue, New York, New York. Opening additional stores and using the same
 manufacturing facility lowers overhead (per store) while increasing sales. If there is a shortfall on
 payments to creditors, Mr. Sarin has agreed to infuse additional capital.

        On Confirmation of the Plan, all property of the Debtor, tangible and intangible, including,
 without limitation, licenses, furniture, fixtures and equipment, will revert, free and clear of all
 Claims and Equitable Interests except as provided in the Plan, to the Debtor.

         The Debtor expects to have sufficient cash on hand to make the payments required on the
 Effective Date.

      2.6. Payments.

         The Reorganized Debtor shall act as the disbursing agent for the purpose of making all
 distributions provided for under the Plan. The Reorganized Debtor shall serve without bond and
 shall receive no remuneration for serving as the disbursing agent.

         Any distribution of less than $20.00 will be considered de minimis, and Holders of Allowed
 Claims that are entitled to an interim or final distribution of $20.00 or less will not receive any
 distribution. Such funds will remain with and revest in the Reorganized Debtor.

      Except as otherwise provided in the Plan, any distribution under the Plan which is unclaimed
 after three (3) months following any distribution date shall be forfeited, and such distribution,
 together with any interest earned thereon, shall return to and revest in the Reorganized Debtor.

      2.7. Post-Confirmation Management.

         The Post-Confirmation Officers/Managers of the Debtor, and their compensation, shall be
 as follows: The Debtor will continue to be operated by Oleg Azizov and Ajay Sarin.

      2.8. Tax Consequences of the Plan.

       Creditors and Equity Interest Holders Concerned with How the Plan May Affect Their
 Tax Liability Should Consult with Their Own Accountants, Attorneys, And/Or Advisors.

         CREDITORS AND INTEREST HOLDERS CONCERNED WITH HOW THE PLAN
 MAY AFFECT THEIR TAX LIABILITY SHOULD CONSULT WITH THEIR OWN
 ACCOUNTANTS, ATTORNEYS, AND/OR ADVISORS. The following disclosure of possible
 tax consequences is intended solely for the purpose of alerting readers to possible tax issues this
 Plan may present to Debtor. The Debtor CANNOT and DOES NOT represent that the tax
 consequences contained below are the only tax consequences of the Plan because the Tax Code
 embodies many complicated rules which make it difficult to state completely and accurately all
 the tax implications of any action.
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       The following are the tax consequences that the Plan will have on the Debtor’s tax liability:
 None anticipated.

      2.9. Projections in Support of Debtor’s Ability to Make Payments Under the Proposed
           Plan

         Attached as Exhibit D are projections prepared by Debtor’s accountant. The projections
 are not based on audited financials.

                              ARTICLE 3: FEASIBILITY OF PLAN.

         The Bankruptcy Court must find that confirmation of the Plan is not likely to be followed
 by the liquidation, or the need for further financial reorganization, of the Debtor or any successor
 to the Debtor, unless such liquidation or reorganization is proposed in the Plan.

      3.1. Ability to Initially Fund Plan.

         The Debtor believes that it will have enough cash on hand on the Effective Date of the Plan
 to pay all the Claims and expenses that are entitled to be paid on that date. The Debtor will provide
 a Certification of Funds on Hand before the confirmation hearing.

      3.2. Ability to Make Future Plan Payments and Operate Without Further
           Reorganization.

         The Debtor must submit all or such portion of the future earnings or other future income
 of the Debtor as is necessary for the execution of the Plan.

        The Debtor’s financial projections show that the Debtor will have enough funds to pay its
 plan payments and operating expenses. The final Plan payment is expected to be paid five years
 following the initial payment under the Plan.

         The Debtor believes that the Plan is feasible. There are two aspects of a feasibility analysis.
 The first aspect considers whether Debtor will have enough cash on hand on the Effective Date of
 the Plan to pay all the claims and expenses that are entitled to be paid on such date. The second
 aspect considers whether the Debtor will have enough cash over the life of the Plan to make the
 required Plan payments.

         The Debtor maintains that the first aspect of feasibility is satisfied as illustrated here, based
 upon the value of the Debtor’s assets and cashflow of the business. This second aspect of the
 feasibility requirement is met since the Debtor is offering to satisfy creditors through payments
 spanned over five (5) years. Moreover, payments will be made from the Debtor’s continued
 sources of income.

      You Should Consult with Your Accountant or other Financial Advisor If You Have
 Any Questions Pertaining to These Projections.

                            ARTICLE 4: LIQUIDATION ANALYSIS.


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        To confirm the Plan, the Bankruptcy Court must find that all Creditors and Equity Interest
 holders who do not accept the Plan will receive at least as much under the Plan as such Claimants
 and Equity Interest holders would receive in a Chapter 7 liquidation. A liquidation analysis is
 attached as Exhibit C.

                                       ARTICLE 5: DISCHARGE.

     5.1. Discharge.

        If the Plan is confirmed under § 1191(a), on the Confirmation Date of this Plan, the
 Debtor will be discharged from any debt that arose before confirmation of this Plan, subject to the
 occurrence of the Effective Date, to the extent specified in § 1141(d) of the Bankruptcy Code; or

        If the Plan is confirmed under § 1191(b), as soon as practicable after completion by the
 Debtor of all payments due under the Plan, unless the court approves a written waiver of discharge
 executed by the Debtor after the order for relief under this chapter, the court shall grant the Debtor
 a discharge of all debts provided in section 1141(d)(1)(A) of this title, and all other debts allowed
 under section 503 of this title and provided for in this Plan, except any debt—

                 (1) on which the last payment is due after the first 3 years of the plan, or such other
          time not to exceed 5 years fixed by the court; or

                   (2) if applicable, of the kind specified in section 523(a) of this title.

                               ARTICLE 6: GENERAL PROVISIONS.

      6.1. Title to Assets.

         If a plan is confirmed under § 1191(a), except as otherwise provided in the Plan or in the
 order confirming the Plan, (i) confirmation of the Plan vests all of the property of the estate in the
 Debtor, and (ii) after confirmation of the Plan, the property dealt with by the Plan is free and clear
 of all Claims and Equity Interests of Creditors, equity security holders, and of general partners in
 the Debtor.

        If a plan is confirmed under § 1191(b), property of the estate includes, in addition to the
 property specified in § 541, all property of the kind specified in that section that the Debtor
 acquires, as well as earnings from services performed by the Debtor, after the date of
 commencement of the case but before the case is closed, dismissed, or converted to a case under
 chapter 7, 12, or 13 of the Bankruptcy Code, whichever occurs first. Except as provided in § 1185
 of the Bankruptcy Code, the Plan, or the order confirming the Plan, the Debtor shall remain in
 possession of all property of the estate.

      6.2. Binding Effect.

         If the Plan is confirmed, the provisions of the Plan will bind the Debtor and all Creditors,
 whether or not they accept the Plan. The rights and obligations of any entity named or referred to
 in this Plan will be binding upon and will inure to the benefit of the successors or assigns of such
 entity.
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      6.3. Severability.

       If any provision in this Plan is determined to be unenforceable, the determination will in
 no way limit or affect the enforceability and operative effect of any other provision of this Plan.

      6.4. Retention of Jurisdiction by the Bankruptcy Court.

         The Bankruptcy Court shall retain jurisdiction of this case with regard to the following
 matters: (i) to make such orders as are necessary or appropriate to implement the provisions of this
 Plan and to resolve any disputes arising from implementation of the Plan; (ii) to rule on any
 modification of the Plan proposed under section 1193; (iii) to hear and allow all applications for
 compensation to professionals and other Administrative Expenses; (iv) to resolve all issues
 regarding Claims objections, and issues arising from the assumption/rejection of executory
 contracts or unexpired leases, and (v) to adjudicate any cause of action which may exist in favor
 of the Debtor, including preference and fraudulent transfer causes of action.

      6.5. Captions.

        The headings contained in this Plan are for convenience of reference only and do not affect
 the meaning or interpretation of this Plan.

      6.6. Modification of Plan.

        The Debtor may modify the Plan at any time before confirmation of the Plan pursuant to §
 1193(a), on notice to all parties in interest.

         If the Plan is confirmed under Section 1191(a), the Debtor may also seek to modify the
 Plan at any time after confirmation only if (1) the Plan has not been substantially consummated
 and (2) the Bankruptcy Court authorizes the proposed modifications after notice and a hearing.

         If the Plan is confirmed under Section 1191(b), the Debtor may seek to modify the Plan at
 any time only if (1) it is within 3 years of the Confirmation Date, or such longer time not to exceed
 5 years, as fixed by the court and (2) the Bankruptcy Court authorizes the proposed modifications
 after notice and a hearing.

      6.7. Final Decree.

         Once the estate has been substantially consummated provided in Rule 3022 of the Federal
 Rules of Bankruptcy Procedure, the Debtor, or such other party as the Bankruptcy Court shall
 designate in the Plan Confirmation Order, shall file a motion with the Bankruptcy Court to obtain
 a final decree to close the case. Alternatively, the Bankruptcy Court may enter such a final decree
 on its own motion.

                                  ARTICLE 7: ATTACHMENTS.

          The following documents accompany the Plan:

          []       Debtor’s Assets at Fair Market Value, annexed as Exhibit ___.

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          []       Debtor’s Liabilities, annexed as Exhibit ___.

          [x ]     Financial forecast for the Debtor, annexed as Exhibit D .

          [ ]      Debtor’s most recent financial statements issued before bankruptcy, annexed as
                   Exhibit ___.

          [X]      Debtor’s most recent post-petition operating report filed since the commencement
                   of the Debtor’s bankruptcy case, annexed as Exhibit A.

          [ ]      Summary of the Debtor’s periodic operating reports filed since the commencement
                   of the Debtor’s bankruptcy case, annexed as Exhibit ___.

          []       Executory Contracts and Unexpired Leases, to be Assumed annexed as Exhibit .

          [ ]      Executory Contracts and Unexpired Leases to be Assumed and Assigned, annexed
                   as Exhibit ___.

          [ ]      Executory Contracts and Unexpired Leases to be Rejected, annexed as ____

          [ ]      Tables showing the amount of cash on hand as of the Effective Date, and the sources
                   of that cash, annexed as Exhibit ___.

          [ x]     Liquidation Analysis, annexed as Exhibit _C.

                        ARTICLE 8: FREQUENTLY ASKED QUESTIONS.

         What Is the Debtor Attempting to Do in Chapter 11? Chapter 11 is the principal
 reorganization chapter of the Bankruptcy Code. Under Chapter 11, a debtor attempts to restructure
 the claims held against it. Formulation and confirmation of a plan of reorganization is the primary
 goal of Chapter 11. When reorganization is not feasible, however, a debtor may propose a
 liquidating plan under Chapter 11. The plan is the legal document which sets forth the manner and
 the means by which holders of claims against a debtor will be treated.

         Why Am I Receiving This Plan? In order to confirm a plan of reorganization [or
 liquidation], the Bankruptcy Code requires that a debtor solicit acceptances of a proposed plan,
 which it is doing with this Plan. If the creditors are satisfied with the information provided in the
 Plan and the terms of the Plan as proposed, and have voted for the Plan and returned the requisite
 number of ballots to counsel for the Debtor, the Bankruptcy Court may confirm the Plan as
 proposed by the Debtor.

         How Do I Determine Which Class I Am In? To determine the class of your claim or
 interest, you must first determine whether your claim is secured or unsecured. Your claim is
 secured if you have a validly perfected security interest in collateral owned by the Debtor. If you
 do not have any collateral, your claim is unsecured. The Table of Contents will direct you to the
 treatment provided to the class in which you are grouped. The pertinent section of the Plan dealing
 with that class will explain, among other things, who is in that class, what is the size of the class,
 what you will receive if the Plan is confirmed, and when you will receive what the Plan has

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 provided for you if the Plan is confirmed. [Paragraph/Section] lists all classes of claimants and
 their types of claims.

         Why Is Confirmation of a Plan of Reorganization Important? Confirmation of the Plan
 is necessary because if the Plan is confirmed, the Debtor and all of its creditors are bound by the
 terms of the Plan. If the Plan is not confirmed, the Debtor may not pay creditors as proposed in the
 Plan while the Debtor remains in bankruptcy.

        What Is Necessary to Confirm a Plan of Reorganization? Confirmation of the Plan
 requires, among other things, the vote in favor of the Plan of two-thirds in total dollar amount and
 a majority in number of claims actually voting in each voting class. If the vote is insufficient, the
 Bankruptcy Court can still confirm the Plan, but only if certain additional elements are shown
 including that the plan does not discriminate unfairly, and is fair and equitable, with respect to
 each class of claims or interests that is impaired under, and has not accepted, the plan.

         Am I Entitled to Vote on the Plan? Any creditor of the Debtor whose claim is IMPAIRED
 under the Plan is entitled to vote, if either (i) the creditor’s claim has been scheduled by the Debtor
 and such claim is not scheduled as disputed, contingent, or unliquidated, or (ii) the creditor has
 filed a proof of claim on or before the last date set by the Bankruptcy Court for such filings. Any
 claim to which an objection has been filed (and such objection is still pending) is not entitled to
 vote, unless the Bankruptcy Court temporarily allows the creditor to vote upon the creditor’s
 motion. Such motion must be heard and determined by the Bankruptcy Court prior to the date
 established by the Bankruptcy Court to confirm the Plan.

         How Do I Determine Whether I Am in an Impaired Class? Section 2.2 of the Plan
 identifies the classes of creditors whose claims are impaired.

         When Is the Deadline by Which I Need to Return My Ballot? The Plan is being
 distributed to all claim holders for their review, consideration and approval. The deadline by which
 ballots must be returned is __________. Ballots should be mailed to the following address:
 ANTHONY SODONO, III, ESQ., AND SARI B. PLACONA, ESQ., MCMANIMON,
 SCOTLAND & BAUMANN, LLC, 75 LIVINGSTON AVENUE, SECOND FLOOR,
 ROSELAND, NEW JERSEY 07068.

         How Do I Determine When and How Much I Will Be Paid? In Section 2.2, the Debtor
 has provided both written and financial summaries of what it anticipates each class of creditors
 will receive under the Plan.

                                   ARTICLE 9: DEFINITIONS.

        9.1.    The definitions and rules of construction set forth in §§ 101 and 102 of the
 Bankruptcy Code shall apply when terms defined or construed in the Code are used in this Plan.
 The definitions that follow that are found in the Code are the convenience of reference only and
 are superseded by the definitions found in the Code.

       9.2.        Administrative Claimant: Any person entitled to payment of an Administration
 Expense.

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          9.3.   Administrative Convenience Class: A class consisting of every unsecured claim
 that is less than or reduced to an amount that the Bankruptcy Court approves as reasonable and
 necessary for administrative convenience.

         9.4.    Administrative Expense: Any cost or expense of administration of the Chapter 11
 case entitled to priority under Section 507(a)(2) of the Code and allowed under Section 503(b) of
 the Code, including without limitation, any actual and necessary expenses of preserving the
 Debtor’s estate, any actual and necessary expenses incurred following the filing of the bankruptcy
 petition by the Debtor-in-Possession, allowances of compensation or reimbursement of expenses
 to the extent allowed by the Bankruptcy Court under the Bankruptcy Code, the allowed claim of
 the Trustee for fees and/or reimbursements, and any fees or charges assessed against any of the
 Debtor’s estates under Chapter 123, Title 28, United States Code.

        9.5.       Administrative Tax Claim: Any tax incurred pursuant to Section 503(b)(1)(B) of
 the Code.

         9.6.    Allowed Claim: Any claim against the Debtor pursuant to Section 502 of the Code
 to the extent that: (a) a Proof of Claim was either timely filed or was filed late with leave of the
 Bankruptcy Court or without objection by the Debtor, and (b) as to which either (i) a party in
 interest, including the Debtor, does not timely file an objection, or (ii) is allowed by a Final Order.

         9.7.   Allowed Priority Tax Claim: A Priority Tax Claim to the extent that it is or has
 become an Allowed Claim, which in any event shall be reduced by the amount of any offsets,
 credits, or refunds to which the Debtor or Debtor-in-Possession shall be entitled on the
 Confirmation Date.

        9.8.    Allowed Secured Claim: Allowed Secured Claims are claims secured by property
 of the Debtor’s bankruptcy estate (or that are subject to setoff) to the extent allowed as secured
 claims under § 506 of the Code

        9.9.    Allowed Unsecured Claim: An Unsecured Claim to the extent it is, or has become,
 an Allowed Claim, which in any event shall be reduced by the amount of any offsets, credits, or
 refunds to which the Debtor or Debtor-in-Possession shall be entitled on the Confirmation Date.

        9.10. Bankruptcy Code or Code: The Bankruptcy Reform Act of 1978, as amended and
 codified as Title 11, United States Code.

           9.11.   Bankruptcy Court: The United States Bankruptcy Court for the District of New
 Jersey.

           9.12.   Bankruptcy Rules: The Federal Rules of Bankruptcy Procedure.

         9.13. Cash: Cash, cash equivalents and other readily marketable securities or instruments
 issued by a person other than the Debtor, including, without limitation, readily marketable direct
 obligations of the United States of America, certificates of deposit issued by banks and commercial
 paper of any entity, including interest accrued or earned thereon.



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       9.14. Chapter 11 Case: This case under chapter 11 of the Bankruptcy Code in which
 703 Bakery Corp., is the Debtor-in-Possession.

         9.15. Claim: Any “right to payment from the Debtor whether or not such right is reduced
 to judgment, liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed,
 undisputed, legal, equitable, secured or unsecured; or any right to an equitable remedy for future
 performance if such breach gives rise to a right of payment from the Debtor, whether or not such
 right to an equitable remedy is reduced to judgment, fixed, contingent, matured, disputed,
 undisputed, secured or unsecured.” 11 U.S.C. § 101(5).

         9.16. Class: A category of holders of claims or interests which are substantially similar
 to the other claims or interests in such class.

          9.17.    Confirmation: The entry by the Bankruptcy Court of an order confirming this Plan.

         9.18. Confirmation Date: The Date upon which the Bankruptcy Court shall enter the
 Confirmation Order; provided however, that if on motion the Confirmation Order or
 consummation of the Plan is stayed pending appeal, then the Confirmation Date shall be the entry
 of the Final Order vacating such stay or the date on which such stay expires and is no longer in
 effect.

        9.19. Confirmation Hearing: The hearing to be held on ____, 2024 at 11:00 a.m. to
 consider confirmation of the Plan.

        9.20. Confirmation Order: An order of the Bankruptcy Court or any amendment thereto
 confirming the Plan in accordance with the provisions of chapter 11 of the Bankruptcy Code.

         9.21. Creditor: Any person who has a Claim against the Debtor that arose on or before
 the Petition Date.

        9.22. Debtor and Debtor-in-Possession: 703 Bakery Corp., the debtor-in-possession in
 this Chapter 11 Case.

         9.23. Disputed Claim: Any claim against the Debtor pursuant to Section 502 of the Code
 that the Debtor has in any way objected to, challenged or otherwise disputed.

       9.24. Distributions: The property required by the Plan to be distributed to the holders of
 Allowed Claims.

         9.25. Effective Date: Pursuant to D.N.J. LBR 3020-1, the effective date of a chapter 11
 plan is 30 days after entry of the order confirming the plan unless the plan or confirmation order
 provides otherwise.

          9.26.    Equity Interest: An ownership interest in the Debtor.

         9.27. Executory Contracts: All unexpired leases and executory contracts as described
 in Section 365 of the Bankruptcy Code.


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         9.28. Final Order: An order or judgment of the Bankruptcy Court that has not been
 reversed, stayed, modified or amended and as to which (a) any appeal that has been taken has been
 finally determined or dismissed, or (b) the time for appeal has expired and no notice of appeal has
 been filed.

          9.29.    IRC: The Internal Revenue Code.

          9.30.    Petition Date: May 21, 2024, the date the original chapter 11 bankruptcy case was
 filed.

        9.31. Plan: This Plan, either in its present form or as it may be altered, amended, or
 modified from time to time.

        9.32. Priority Tax Claim: Any Claim entitled to priority in payment under Section
 507(a)(8) of the Bankruptcy Code.

          9.33.    Reorganized Debtor: The Debtor after the Effective Date.

        9.34. Schedules: Schedules and Statement of Financial Affairs, as amended, filed by the
 Debtor with the Bankruptcy Court listing liabilities and assets.

        9.35.      Secured Creditor: Any creditor that holds a Claim that is secured by property of
 the Debtor.

         9.36. Trustee: The trustee to be appointed pursuant to 11 U.S.C. § 1183(a) and whose
 duties are prescribed under 11 U.S.C. 1183(b), the Plan, or the order confirming the Plan.

         9.37. Unsecured Creditor: Any Creditor that holds a Claim in the Chapter 11 case which
 is not a secured Claim.

                                                Respectfully submitted,

                                                McMANIMON, SCOTLAND
                                                & BAUMANN, LLC
                                                Counsel for 703 Bakery Corp.,
                                                Chapter 11 Debtor and Debtor-in-Possession

 Dated: October 23, 2024                               By:     /s/ Anthony Sodono, III
                                                             Anthony Sodono, III



                                                       By:     /s/ Oleg Azizov
                                                              Oleg Azizov
 Dated: October 23, 2024



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                         EXHIBIT A – Operating Report
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Debtor Name   _______________________________________________________                 Case number_____________________________________




    17. Have you paid any bills you owed before you filed bankruptcy?

    18. Have you allowed any checks to clear the bank that were issued before you filed bankruptcy?



              2. Summary of Cash Activity for All Accounts

    19. Total opening balance of all accounts
                                                                                                                             $ __________
        This amount must equal what you reported as the cash on hand at the end of the month in the previous
        month. If this is your first report, report the total cash on hand as of the date of the filing of this case.

    20. Total cash receipts
        Attach a listing of all cash received for the month and label it Exhibit C. Include all
        cash received even if you have not deposited it at the bank, collections on
        receivables, credit card deposits, cash received from other parties, or loans, gifts, or
        payments made by other parties on your behalf. Do not attach bank statements in
        lieu of Exhibit C.
        Report the total from Exhibit C here.                                                         $ __________

    21. Total cash disbursements
        Attach a listing of all payments you made in the month and label it Exhibit D. List the
        date paid, payee, purpose, and amount. Include all cash payments, debit card
        transactions, checks issued even if they have not cleared the bank, outstanding
        checks issued before the bankruptcy was filed that were allowed to clear this month,
        and payments made by other parties on your behalf. Do not attach bank statements
        in lieu of Exhibit D.
                                                                                                      - $ __________
        Report the total from Exhibit D here.

    22. Net cash flow
        Subtract line 21 from line 20 and report the result here.                                                        + $ __________
        This amount may be different from what you may have calculated as net profit.

    23. Cash on hand at the end of the month
        Add line 22 + line 19. Report the result here.
        Report this figure as the cash on hand at the beginning of the month on your next operating report.              = $ __________
        This amount may not match your bank account balance because you may have outstanding checks that
        have not cleared the bank or deposits in transit.



              3. Unpaid Bills

        Attach a list of all debts (including taxes) which you have incurred since the date you filed bankruptcy but
        have not paid. Label it Exhibit E. Include the date the debt was incurred, who is owed the money, the
        purpose of the debt, and when the debt is due. Report the total from Exhibit E here.

    24. Total payables                                                                                                       $ ____________

               (Exhibit E)




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Debtor Name   _______________________________________________________                    Case number_____________________________________




              4. Money Owed to You

        Attach a list of all amounts owed to you by your customers for work you have done or merchandise you
        have sold. Include amounts owed to you both before, and after you filed bankruptcy. Label it Exhibit F.
        Identify who owes you money, how much is owed, and when payment is due. Report the total from
        Exhibit F here.
    25. Total receivables                                                                                                       $ ____________

               (Exhibit F)



              5. Employees

    26. What was the number of employees when the case was filed?                                                                 ____________

    27. What is the number of employees as of the date of this monthly report?                                                    ____________




              6. Professional Fees
    28. How much have you paid this month in professional fees related to this bankruptcy case?                                 $ ____________

    29. How much have you paid in professional fees related to this bankruptcy case since the case was filed?                   $ ____________

    30. How much have you paid this month in other professional fees?                                                           $ ____________

    31. How much have you paid in total other professional fees since filing the case?                                          $ ____________




              7. Projections

        Compare your actual cash receipts and disbursements to what you projected in the previous month.
        Projected figures in the first month should match those provided at the initial debtor interview, if any.

                                        Column A                     Column B                       Column C
                                        Projected                –   Actual                    =    Difference

                                        Copy lines 35-37 from        Copy lines 20-22 of            Subtract Column B
                                        the previous month’s         this report.                   from Column A.
                                        report.
                                        $ ____________           –   $ ____________
                                                                                               =    $ ____________
    32. Cash receipts
                                                                                               =
    33. Cash disbursements              $ ____________           –   $ ____________                 $ ____________

                                                                 –                             =
    34. Net cash flow                   $ ____________               $ ____________                 $ ____________


    35. Total projected cash receipts for the next month:                                                                       $ ____________

    36. Total projected cash disbursements for the next month:                                                                - $ ____________
    37. Total projected net cash flow for the next month:
                                                                                                                              = $ ____________



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Debtor Name   _______________________________________________________                 Case number_____________________________________




              8. Additional Information

    If available, check the box to the left and attach copies of the following documents.

         38. Bank statements for each open account (redact all but the last 4 digits of account numbers).

         39. Bank reconciliation reports for each account.

         40. Financial reports such as an income statement (profit & loss) and/or balance sheet.

         41. Budget, projection, or forecast reports.

         42. Project, job costing, or work-in-progress reports.




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                         EXHIBIT B - Cash on hand on the Effective Date

 Cash on hand on the Effective Date:                        $

 Checking, savings, money market or brokerage accounts:

 Less –

          Amount of Administrative Expenses
          payable on effective date of Plan                 $

          Amount of statutory costs and charges             $0.00

          Amount of cure payments for executory contracts   $0.00

          Other Plan Payments due on Effective Date         $

                 Balance after paying these amounts……..     $

 The sources of the cash the Debtor will have on hand by the Effective Date are estimated as
 follows:

          $      Cash in the Debtor’s bank account now

          +$             Additional cash Debtor will accumulate from net earnings between now
                         and Effective Date [state the basis for such projections]

          $      Total
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                                  EXHIBIT C - Liquidation Analysis

                            Debtor’s Estimated Liquidation Value of Assets

 Assets
    a. Machinery, equipment, vehicles                        $
    b. Office furniture                                      $
    c. Cash / financial assets                               $
    d. Security Deposit                                      $
    e. Accounts Receivables                                  $
    f. Other                                                 $
    g. Real Property                                         $0


 Less: Secured Claims
              .                                              $2,008,144.8714
                                                             $
 Less:
 Chapter 11 Administrative Expenses                                 $263,042.51
 Less:
 Priority claims, excluding Administrative Expense claims           $

             (1) Balance for unsecured claims                       $

            (2) Total dollar amount of unsecured claims             $4,124,812.39

 Percentage of Claims Which Unsecured Creditors Would
 Receive Or Retain in a Chapter 7 Liquidation:                      %

 Percentage of Claims Which Unsecured Creditors Will
 Receive or Retain under the Plan:                                  %




 14
      Subject to dispute.


 4865-1997-2338, v. 1
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                        Exhibit D - Projections
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703 BAKERY CORP
24-15150-VFP
Five Year Projected Cash Flow

                                    Nov-24       Dec-24          2025             2026          2027            2028             2029

Total Sales                     $    900,000    $ 900,000    $ 11,750,000    $11,867,500     $ 11,986,175 $    12,106,037   $   12,227,097

COGS @ 21%                           189,000      189,000        2,467,500       2,492,175     2,517,097        2,542,268        2,567,690

Payroll & Taxes                      432,407      432,407        5,428,887       5,510,320     5,592,975        5,626,870        5,661,273
Rent                                 105,000      105,000        1,272,000       1,291,080     1,310,446        1,330,103        1,350,054
Utilities                             41,000       41,000          534,000         534,000       534,000          534,000          534,000
Sales Tax                             54,000       54,000          705,000         712,050       719,171          726,362          733,626
Credit Card Fees                      27,000       27,000          352,500         356,025       359,585          363,181          366,813
Insurance                             13,000       13,000          156,000         156,000       156,000          156,000          156,000
Software Expenses                     12,500       12,500          150,000         150,000       150,000          150,000          150,000
Advertising & marketing               10,000       10,000          120,000         120,000       120,000          120,000          120,000
Repairs & Maintenance                  5,000        5,000           60,000          60,000        60,000           60,000           60,000
Vehicle gas & fuel                     4,000        4,000           50,400          50,400        50,400           50,400           50,400
Supplies                               5,000        5,000           63,000          63,000        63,000           63,000           63,000
Rabinical Supervision                  7,500        7,500           90,000          90,000        90,000           90,000           90,000
Travel & Delivery                      3,800        3,800           47,880          47,880        47,880           47,880           47,880
Truck Lease                            3,778        3,778           45,336          45,336        45,336           45,336           45,336
Equipment Leases                       5,200        5,200           62,400          62,400        62,400           62,400           62,400
Office Expenses                        4,500        4,500           54,000          54,000        54,000           54,000           54,000
Total Expenses                       733,685      733,685        9,191,403       9,302,491     9,415,193        9,479,532        9,544,782
Cash Flow From Operations            (22,685)     (22,685)          91,097          72,834        53,885           84,237          114,625

Money from Investor                  150,000      150,000
Less Plan Payments:
SBA                                     741          741            8,892           8,892          8,892           8,892            8,892
Priority Sales Tax                                                 32,609          32,609         32,609          32,609           32,609
Admin Claims                                       50,000          25,000          25,000         25,000          25,000           25,000
Unsecured Claims                                                   60,000          60,000         60,000          60,000           60,000

Beginning Cash                        25,000   151,574            228,148         192,744        139,076          66,461           24,197
Ending Cash                     $    151,574 $ 228,148       $    192,744    $    139,076 $       66,461   $      24,197    $      12,321
